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                          BEFORE THE UNITED STATES
                 JUDICIAL PANEL ON MULTIDISTRICT LITIGATION



IN RE: FTX CRYPTOCURRENCY                       MDL No. 3076
EXCHANGE COLLAPSE LITIGATION



                               CERTIFICATE OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, I hereby certify that on May 1, 2023, a copy of the foregoing

Notice of Presentation of Oral Argument was filed electronically with the Clerk of the Judicial

Panel on Multidistrict Litigation by using the CM/ECF system and served on all counsel or parties

in the manners indicated and addressed as follows:

                                         By CM/ECF
                            Garrison et al. v. Bankman-Fried et al.
Edwin Garrison       represented by        David Boies
                                           Boies, Schiller & Flexner LLP
                                           333 Main Street
                                           Suite 301
                                           Armonk, NY 10704
                                           914-749-8201
                                           Fax: 914-749-8300
                                           Email: dboies@bsfllp.com
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED

                                           Jose Manuel Ferrer
                                           Mark Migdal and Hayden
                                           80 SW 8 Street
                                           Suite 1999
                                           33130
                                           Miami, FL 33131
                                           305-374-0440
                                           Email: jose@markmigdal.com
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED
Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 2 of 93




                          Adam M Moskowitz
                          The Moskowitz Law Firm
                          2 Alhambra Plaza
                          Suite 601
                          Coral Gables, FL 33134
                          305-740-1423
                          Email: adam@moskowitz-law.com
                          ATTORNEY TO BE NOTICED

                          Alexander Boies
                          Boies Schiller Flexner LLP
                          55 Hudson Yards, 20th Floor
                          New York, NY 10001
                          (212) 446-2320
                          Email: aboies@bsfllp.com
                          ATTORNEY TO BE NOTICED

                          Barbara Cabrera Lewis
                          The Moskowitz Law Firm
                          2 Alhambra Plaza
                          #601
                          Miami, FL 33134
                          305-740-1423
                          Fax: 786-298-5737
                          Email: barbara@moskowitz-law.com
                          ATTORNEY TO BE NOTICED

                          David Boies
                          Boies Schiller Flexner LLP
                          333 Main Street
                          Armonk, NY 10504
                          (914) 749-8200
                          Email: dboies@bsfllp.com
                          ATTORNEY TO BE NOTICED

                          Howard M. Bushman
                          The Moskowitz Law Firm
                          2 Alhambra Plaza
                          Suite 601
                          Coral Gables, FL 33134
                          305-740-1423
                          Fax: 305/536-8229
                          Email: howard@moskowitz-law.com
                          ATTORNEY TO BE NOTICED




                             2
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                          Joseph M. Kaye
                          The Moskowitz Law Firm, PLLC
                          2 Alhambra Plaza, Suite 601
                          Miami, FL 33134
                          (305) 740-1423
                          Email: joseph@moskowitz-law.com
                          ATTORNEY TO BE NOTICED

                          Manuel A. Arteaga-Gomez
                          Grossman Roth Yaffa Cohen
                          2525 Ponce de Leon Blvd.
                          Suite 1150
                          Coral Gables, FL 33134
                          (305) 442-8666
                          Fax: (305) 285-1668
                          Email: aag@grossmanroth.com
                          ATTORNEY TO BE NOTICED

                          Stephen N. Zack
                          Boies Schiller & Flexner
                          100 SE 2 nd Street
                          Suite 2800, Miami Tower
                          Miami, FL 33131-2144
                          305-539-8400
                          Fax: 305-539-1307
                          Email: szack@bsfllp.com
                          ATTORNEY TO BE NOTICED

                          Stuart Z Grossman
                          Grossman, Roth, Yaffa, Cohen, PA
                          2525 Ponce de Leon Boulevard
                          Suite 1150
                          Coral Gables, FL 33134
                          305-442-8666
                          Fax: 305-285-1668
                          Email: szg@grossmanroth.com
                          ATTORNEY TO BE NOTICED

                          Tyler Evan Ulrich
                          BOIES SCHILLER & FLEXNER LLP
                          100 SE 2 nd Street
                          Suite 2800
                          Miami, FL 33131
                          305-539-8400
                          Fax: 305-539-1307
                          Email: tulrich@bsfllp.com


                             3
       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 4 of 93




                                  ATTORNEY TO BE NOTICED

                                  Ursula Ungaro
                                  Boies Schiller Flexner LLP
                                  100 SE 2 nd Street
                                  Suite 2800
                                  Miami, FL 33131
                                  305-479-6553
                                  Email: uungaro@bsfllp.com
                                  ATTORNEY TO BE NOTICED
Gregg Podalsky   represented by   David Boies
                                  (See above for address)
                                  LEAD ATTORNEY
                                  ATTORNEY TO BE NOTICED

                                  Adam M Moskowitz
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Alexander Boies
                                  Boies Schiller Flexner LLP
                                  333 Main Street
                                  Armonk, NY 10504
                                  914-749-8200
                                  Email: aboies@bsfllp.com
                                  ATTORNEY TO BE NOTICED

                                  Barbara Cabrera Lewis
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  David Boies
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Howard M. Bushman
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Joseph M. Kaye
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Stephen N. Zack
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED


                                     4
       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 5 of 93




                                  Tyler Evan Ulrich
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Ursula Ungaro
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED
Skyler Lindeen   represented by   David Boies
                                  (See above for address)
                                  LEAD ATTORNEY
                                  ATTORNEY TO BE NOTICED

                                  Adam M Moskowitz
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Alexander Boies
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Barbara Cabrera Lewis
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  David Boies
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Howard M. Bushman
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Joseph M. Kaye
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Stephen N. Zack
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Tyler Evan Ulrich
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Ursula Ungaro


                                     5
       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 6 of 93




                                 (See above for address)
                                 ATTORNEY TO BE NOTICED
Alexander      represented by    David Boies
Chernyavsky                      (See above for address)
                                 LEAD ATTORNEY
                                 ATTORNEY TO BE NOTICED

                                 Adam M Moskowitz
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Alexander Boies
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Barbara Cabrera Lewis
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 David Boies
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Howard M. Bushman
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Joseph M. Kaye
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Stephen N. Zack
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Tyler Evan Ulrich
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Ursula Ungaro
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED
Gary Gallant   represented by    David Boies
                                 (See above for address)
                                 LEAD ATTORNEY



                                     6
        Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 7 of 93




                                  ATTORNEY TO BE NOTICED

                                  Adam M Moskowitz
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Alexander Boies
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Barbara Cabrera Lewis
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  David Boies
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Howard M. Bushman
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Joseph M. Kaye
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Stephen N. Zack
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Tyler Evan Ulrich
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Ursula Ungaro
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED
David Nicol     represented by    David Boies
                                  (See above for address)
                                  LEAD ATTORNEY
                                  ATTORNEY TO BE NOTICED

                                  Adam M Moskowitz
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED



                                     7
       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 8 of 93




                                 Alexander Boies
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Barbara Cabrera Lewis
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 David Boies
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Howard M. Bushman
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Joseph M. Kaye
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Stephen N. Zack
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Tyler Evan Ulrich
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Ursula Ungaro
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED
Sunil Kavuri   represented by    David Boies
                                 (See above for address)
                                 LEAD ATTORNEY
                                 ATTORNEY TO BE NOTICED

                                 Adam M Moskowitz
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Barbara Cabrera Lewis
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Howard M. Bushman
                                 (See above for address)


                                     8
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                                ATTORNEY TO BE NOTICED

                                Stephen N. Zack
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                Tyler Evan Ulrich
                                (See above for address)
                                ATTORNEY TO BE NOTICED
Sam Bankman-   represented by   Jeremy D. Mishkin
Fried                           Montgomery McCracken
                                1735 Market Street, 21 st Floor
                                Philadelphia, PA 19103
                                215-772-1500
                                Email: jmishkin@mmwr.com
                                LEAD ATTORNEY
                                ATTORNEY TO BE NOTICED

                                Adam Michael Schachter
                                STEARNS WEAVER MILLER WEISSLER
                                ALHADEFF & SITTERSON PA
                                150 West Flagler Street
                                Suite 2200
                                Miami, FL 33130
                                305-789-3228
                                Fax: 789-3395
                                ATTORNEY TO BE NOTICED

                                Gerald Edward Greenberg
                                Gelber Schachter & Greenberg PA
                                One Southeast Third Avenue
                                Suite 2600
                                Miami, FL 33131-1715
                                305-728-0950
                                Fax: 305-728-0951
                                Email: ggreenberg@gsgpa.com
                                ATTORNEY TO BE NOTICED

                                Richard M. Simins
                                Montgomery McCracken
                                1735 Market Street, 21 st Floor
                                Philadelphia, PA 19103
                                (215) 772-1500
                                Email: rsimins@mmwr.com
                                ATTORNEY TO BE NOTICED



                                    9
      Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 10 of 93




Thomas Brady   represented by   Andrew B. Clubok
                                LATHAM & WATKINS LLP
                                555 Eleventh Street, NW
                                Suite 1000
                                Washington, DC 20004
                                202-637-2200
                                Email: 10dward.
                                       clubok@lw        .com
                                ATTORNEY TO BE NOTICED

                                Brittany M.J. Record
                                Latham & Watkins LLP
                                555 Eleventh Street, N.W., Suite 1000
                                Washington, DC 20004
                                (202) 637-2200
                                Email: Brittany.Record@lw.com
                                ATTORNEY TO BE NOTICED

                                Elizabeth A. Greenman
                                Latham & Watkins LLP
                                10250 Constellation Blvd., Suite 1100
                                Los Angels, CA 90067
                                (424) 653-5500
                                Email: Elizabeth.Greenman@lw.com
                                ATTORNEY TO BE NOTICED

                                Jessica Stebbins Bina
                                Latham & Watkins LLP
                                10250 Constellation Blvd. Suite 1100
                                Los Angeles, CA 90067
                                (424) 653-5500
                                Email: Jessica.stebbinsbina@lw.com
                                ATTORNEY TO BE NOTICED

                                Marvin Putnam
                                Latham & Watkins LLP
                                10250 Constellation Blvd., Suite 1100
                                Los Angeles, CA 90067
                                (424) 653-5500
                                Email: Marvin.Putnam@lw.com
                                ATTORNEY TO BE NOTICED

                                Michele D. Johnson
                                Latham & Watkins LLP
                                650 Town Center Drive, 20 th Floor
                                Costa Mesa, CA 92626
                                (714) 540-1235


                                   10
       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 11 of 93




                                   Email: michele.johnson@lw.com
                                   ATTORNEY TO BE NOTICED

                                   Roberto Martinez
                                   Colson Hicks Eidson
                                   255 Alhambra Circle
                                   Penthouse
                                   Coral Gables, FL 33134-2351
                                   305-476-7400
                                   Fax: 476-7444
                                   Email: bob@colson.com
                                   ATTORNEY TO BE NOTICED

                                   Stephanie Anne Casey
                                   Colson Hicks Eidson
                                   255 Alhambra Circle, PH
                                   Coral Gables, FL 33134
                                   (305) 476-7400
                                   Fax: (305) 476-7444
                                   Email: scasey@colson.com
                                   ATTORNEY TO BE NOTICED

                                   Susan E. Engel
                                   Latham & Watkins LLP
                                   555 Eleventh Street, N.W., Suite 1000
                                   Washington, DC 20004
                                   (202) 637-2200
                                   Email: Susan.Engel@lw.com
                                   ATTORNEY TO BE NOTICED

                                   Zachary Andrew Lipshultz
                                   Colson Hicks Eidson
                                   255 Alhambra Circle
                                   Coral Gables, FL 33134
                                   3054767400
                                   Email: zach@colson.com
                                   ATTORNEY TO BE NOTICED
Gisele Bundchen   represented by   Andrew B. Clubok
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   Brittany M.J. Record
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   Elizabeth A. Greenman


                                      11
      Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 12 of 93




                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Jessica Stebbins Bina
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Marvin Putnam
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Michele D. Johnson
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Roberto Martinez
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Stephanie Anne Casey
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Susan E. Engel
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Zachary Andrew Lipshultz
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED
Stephen Curry   represented by   Nathan Marshall Bull
                                 730 SALDANO AVE
                                 Coral Gables, FL 33143
                                 9179135973
                                 Email: nbull@mwe.com
                                 ATTORNEY TO BE NOTICED
Golden State    represented by   Matthew S Kahn
Warriors LLC                     Gibson, Dunn & Crutcher LLP
                                 555 Mission Street
                                 Suite 3000
                                 San Francisco, CA 94105
                                 415-393-8200
                                 Email: mkahn@gibsondunn.com
                                 LEAD ATTORNEY
                                 ATTORNEY TO BE NOTICED



                                    12
       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 13 of 93




                                 Jamila MacEbong
                                 Gibson, Dunn & Crutcher LLP
                                 333 South Grand Ave.
                                 Los Angeles, CA 90071
                                 Email: jmacebong@gibsondunn.com
                                 ATTORNEY TO BE NOTICED

                                 Michael Kahn
                                 Gibson, Dunn & Crutcher LLP
                                 555 Mission Street
                                 San Francisco, CA 94105
                                 ATTORNEY TO BE NOTICED

                                 Roberto Martinez
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Stephanie Anne Casey
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Zachary Andrew Lipshultz
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED
Udonis Haslem   represented by   Christopher Stephen Carver
                                 Akerman LLP
                                 201 East Las Olas Boulevard
                                 Suite 1800
                                 Ft. Lauderdale, FL 33301
                                 305-463-2700
                                 ATTORNEY TO BE NOTICED

                                 Katherine Ann Johnson
                                 Akerman LLP
                                 201 E. Las Olas Blvd., Suite 1800
                                 Fort Lauderdale, FL 33301
                                 954-463-2700
                                 Fax: 954-463-2224
                                 Email: Katie.johnson@akerman.com
                                 ATTORNEY TO BE NOTICED
David Ortiz     represented by   Christopher Stephen Carver
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED




                                    13
       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 14 of 93




                                  Jason Samuel Oletsky
                                  Akerman LLP
                                  201 East Las Olas Boulevard
                                  Ste 1800
                                  Fort Lauderdale, FL 33301
                                  954-759-8909
                                  Fax: 954-463-2224
                                  ATTORNEY TO BE NOTICED

                                  Katherine Ann Johnson
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED
William Trevor   represented by   David A Rothstein
Lawrence                          Dimond Kaplan & Rothstein, P.A.
                                  2665 South Bayshore Drive
                                  Penthouse 2b
                                  Miami, FL 33133
                                  305-374-1920
                                  Email: drothstein@dkrpa.com
                                  LEAD ATTORNEY
                                  ATTORNEY TO BE NOTICED

                                  Tommy Lydon
                                  MGC Law
                                  1320 Main Street
                                  10 th Floor
                                  Columbia, SC 29201
                                  803-779-2300
                                  Fax: 803-748-0526
                                  Email: tlydon@mgclaw.com
                                  LEAD ATTORNEY
                                  ATTORNEY TO BE NOTICED

                                  Alexander Manuel Peraza
                                  Dimond Kaplan & Rothstein P.A.
                                  2665 S Bayshore Drive
                                  Ste Ph-2b
                                  Coconut Grove, FL 33133
                                  305-374-1920
                                  Fax: 305-374-1961
                                  Email: aperaza@dkrpa.com
                                  ATTORNEY TO BE NOTICED

                                  Eric A. Fitzgerald
                                  McAngus Goudelock & Courie LLC
                                  2000 Market Street, Suite 780


                                     14
       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 15 of 93




                                 Philadelphia, PA 19103
                                 (484) 406-4334
                                 Email: eric.fitzgerald@mgclaw.com
                                 ATTORNEY TO BE NOTICED

                                 Eshaba Jahir-Sharuz
                                 Dimond Kaplan , Rothstein
                                 2665 S Bayshore Dr
                                 PH2B
                                 Miami, FL 33133
                                 3053741920
                                 Fax: 3053741961
                                 Email: eshaba@dkrpa.com
                                 ATTORNEY TO BE NOTICED

                                 Hillary N. Ladov
                                 McAngus Goudelock & Courie LLC
                                 2000 Market Street, Suite 780
                                 Philadelphia, PA 19103
                                 (484) 406-4306
                                 ATTORNEY TO BE NOTICED
Shohei Ohtani   represented by   Edward Soto
                                 WEIL GOTSHAL & MANGES LLP
                                 1395 Brickell Avenue
                                 Suite 1200
                                 Miami, FL 33131
                                 (305) 577-3100
                                 Fax: (305) 374-7159
                                 Email: Edward.soto@weil.com
                                 LEAD ATTORNEY
                                 ATTORNEY TO BE NOTICED
Lawrence Gene   represented by   Andrew B. Clubok
David                            (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Brittany M.J. Record
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Elizabeth A. Greenman
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Jessica Stebbins Bina
                                 (See above for address)



                                    15
      Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 16 of 93




                                 ATTORNEY TO BE NOTICED

                                 Marvin Putnam
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Michele D. Johnson
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Roberto Martinez
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Stephanie Anne Casey
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Susan E. Engel
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Zachary Andrew Lipshultz
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED
Kevin O’Leary   represented by   Andrew B. Brettler
                                 Berk Brettler LLP
                                 9119 Sunset Blvd.
                                 West Hollywood, CA 90069
                                 (310) 278-2111
                                 Email: abrettler@berkbrettler.com
                                 ATTORNEY TO BE NOTICED

                                 Brandon Scott Floch
                                 Marcus Neiman Rashbaum & Pineiro LLP
                                 2 South Biscayne Blvd.
                                 Suite 2530
                                 Miami, FL 33131
                                 305-434-4943
                                 Email: bfloch@mnrlawfirm.com
                                 ATTORNEY TO BE NOTICED

                                 Jeffrey Eldridge Marcus
                                 Marcus Neiman & Rashbaum, LLP
                                 One Biscayne Tower – Suite 1750
                                 2 South Biscayne Boulevard


                                    16
       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 17 of 93




                                    Miami, FL 33131
                                    305-400-4260
                                    Fax: 866-780-8355
                                    Email: jmarcus@mnrlawfirm.com
                                    ATTORNEY TO BE NOTICED

                                    Jeffrey A Neiman
                                    Marcus Neiman & Rashbaum LLP
                                    100 SE 3 rd Avenue
                                    Suite 805
                                    Fort Lauderdale, FL 33494
                                    954-462-1200
                                    Fax: 954-688-2492
                                    Email: jneiman@mnrlawfirm.com
                                    ATTORNEY TO BE NOTICED

                                    Michael Anthony Pineiro
                                    Marcus Neiman & Rashbaum LLP
                                    2 S. Biscayne Boulevard
                                    Suite 1750
                                    Miami, FL 33131
                                    3054004268
                                    Email: mpineiro@mnrlawfirm.com
                                    ATTORNEY TO BE NOTICED
Caroline Ellison   represented by   Stephanie Avakian
                                    Wilmer Hale
                                    2100 Pennsylvania Avenue NW
                                    Washington, DC 20037
                                    202-663-6471
                                    Email: stephanie.avakian@wilmerhale.com
                                    LEAD ATTORNEY
                                    ATTORNEY TO BE NOTICED
Gary Wang          represented by   Alex B. Miller
                                    Fried Frank
                                    One New York Plaza
                                    New York, NY 10004
                                    212-859-8000
                                    Email: alex.miller@friedfrank.com
                                    LEAD ATTORNEY
                                    ATTORNEY TO BE NOTICED
Nishad Singh       represented by   Andrew Goldstein
                                    Cooley LLP
                                    1299 Pennsylvania Avenue, NW
                                    Suite 700
                                    Washington, DC 20004-2400


                                       17
       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 18 of 93




                                      202 842 7800
                                      Email: agoldstein@cooley.com
                                      LEAD ATTORNEY
                                      ATTORNEY TO BE NOTICED
Dan Friedberg    represented by       Telemachus Kasulis
                                      Morvillo Abramowitz Grand Iason & Anello PC
                                      565 Fifth Ave
                                      New York, NY 10017
                                      212-880-9555
                                      Email: tkasulis@maglaw.com
                                      LEAD ATTORNEY
                                      ATTORNEY TO BE NOTICED
                             Norris et al. v. Brady et al.
Michael Norris       represented by David Boies
                                    (See above for address)
                                    LEAD ATTORNEY
                                    ATTORNEY TO BE NOTICED

                                    Adam M Moskowitz
                                    (See above for address)
                                    ATTORNEY TO BE NOTICED

                                    Alexander Boies
                                    (See above for address)
                                    ATTORNEY TO BE NOTICED

                                    David Boies
                                    (See above for address)
                                    ATTORNEY TO BE NOTICED

                                    Jose Manuel Ferrer
                                    (See above for address)
                                    ATTORNEY TO BE NOTICED

                                    Joseph M. Kaye
                                    (See above for address)
                                    ATTORNEY TO BE NOTICED

                                    Stephen N. Zack
                                    (See above for address)
                                    ATTORNEY TO BE NOTICED

                                    Ursula Ungaro
                                    (See above for address)
                                    ATTORNEY TO BE NOTICED


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Brandon Rowan      represented by David Boies
                                  (See above for address)
                                  LEAD ATTORNEY
                                  ATTORNEY TO BE NOTICED

                                Adam M Moskowitz
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                Alexander Boies
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                David Boies
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                Jose Manuel Ferrer
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                Joseph M. Kaye
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                Stephen N. Zack
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                Ursula Ungaro
                                (See above for address)
                                ATTORNEY TO BE NOTICED
Michael            represented by David Boies
Livieratos                        (See above for address)
                                  LEAD ATTORNEY
                                  ATTORNEY TO BE NOTICED

                                Adam M Moskowitz
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                Alexander Boies
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                David Boies


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                               (See above for address)
                               ATTORNEY TO BE NOTICED

                               Jose Manuel Ferrer
                               (See above for address)
                               ATTORNEY TO BE NOTICED

                               Joseph M. Kaye
                               (See above for address)
                               ATTORNEY TO BE NOTICED

                               Stephen N. Zack
                               (See above for address)
                               ATTORNEY TO BE NOTICED

                               Ursula Ungaro
                               (See above for address)
                               ATTORNEY TO BE NOTICED
Shengyun Huang    represented by David Boies
                                 (See above for address)
                                 LEAD ATTORNEY
                                 ATTORNEY TO BE NOTICED

                               Adam M Moskowitz
                               (See above for address)
                               ATTORNEY TO BE NOTICED

                               Alexander Boies
                               (See above for address)
                               ATTORNEY TO BE NOTICED

                               David Boies
                               (See above for address)
                               ATTORNEY TO BE NOTICED

                               Jose Manuel Ferrer
                               (See above for address)
                               ATTORNEY TO BE NOTICED

                               Joseph M. Kaye
                               (See above for address)
                               ATTORNEY TO BE NOTICED

                               Stephen N. Zack
                               (See above for address)
                               ATTORNEY TO BE NOTICED


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                                Ursula Ungaro
                                (See above for address)
                                ATTORNEY TO BE NOTICED
Vijeth Shetty      represented by David Boies
                                  (See above for address)
                                  LEAD ATTORNEY
                                  ATTORNEY TO BE NOTICED

                                Adam M Moskowitz
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                Alexander Boies
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                David Boies
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                Jose Manuel Ferrer
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                Joseph M. Kaye
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                Stephen N. Zack
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                Ursula Ungaro
                                (See above for address)
                                ATTORNEY TO BE NOTICED
Bo Yang            represented by David Boies
                                  (See above for address)
                                  LEAD ATTORNEY
                                  ATTORNEY TO BE NOTICED

                                Adam M Moskowitz
                                (See above for address)
                                ATTORNEY TO BE NOTICED




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                               Alexander Boies
                               (See above for address)
                               ATTORNEY TO BE NOTICED

                               David Boies
                               (See above for address)
                               ATTORNEY TO BE NOTICED

                               Jose Manuel Ferrer
                               (See above for address)
                               ATTORNEY TO BE NOTICED

                               Joseph M. Kaye
                               (See above for address)
                               ATTORNEY TO BE NOTICED

                               Stephen N. Zack
                               (See above for address)
                               ATTORNEY TO BE NOTICED

                               Ursula Ungaro
                               (See above for address)
                               ATTORNEY TO BE NOTICED
Thomas Brady      represented by Andrew B. Clubok
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                               Brittany M.J. Record
                               (See above for address)
                               ATTORNEY TO BE NOTICED

                               Elizabeth A. Greenman
                               (See above for address)
                               ATTORNEY TO BE NOTICED

                               Jessica Stebbins Bina
                               (See above for address)
                               ATTORNEY TO BE NOTICED

                               Marvin Putnam
                               (See above for address)
                               ATTORNEY TO BE NOTICED

                               Michele D. Johnson
                               (See above for address)
                               ATTORNEY TO BE NOTICED


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                                Roberto Martinez
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                Stephanie Anne Casey
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                Susan E. Engel
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                Zachary Andrew Lipshultz
                                (See above for address)
                                ATTORNEY TO BE NOTICED
Kevin O'Leary      represented by Andrew B. Brettler
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                Brandon Scott Floch
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                Jeffrey Eldridge Marcus
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                Jeffrey A Neiman
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                Michael Anthony Pineiro
                                (See above for address)
                                ATTORNEY TO BE NOTICED
David Ortiz        represented by Christopher Stephen Carver
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                Jason Samuel Oletsky
                                (See above for address)
                                ATTORNEY TO BE NOTICED

                                Katherine Ann Johnson




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                                 (See above for address)
                                 ATTORNEY TO BE NOTICED
                     Podalsky et al. v. Bankman-Fried et al.
Gregg                 represented by David Boies
Podalsky                             (See above for address)
                                     LEAD ATTORNEY
                                     ATTORNEY TO BE NOTICED

                                      Jose Manuel Ferrer
                                      (See above for address)
                                      LEAD ATTORNEY
                                      ATTORNEY TO BE NOTICED

                                      Adam M Moskowitz
                                      (See above for address)
                                      ATTORNEY TO BE NOTICED

                                      Alexander Boies
                                      (See above for address)
                                      ATTORNEY TO BE NOTICED

                                      Barbara Cabrera Lewis
                                      (See above for address)
                                      ATTORNEY TO BE NOTICED

                                      David Boies
                                      (See above for address)
                                      ATTORNEY TO BE NOTICED

                                      Howard M. Bushman
                                      (See above for address)
                                      ATTORNEY TO BE NOTICED

                                      Joseph M. Kaye
                                      (See above for address)
                                      ATTORNEY TO BE NOTICED

                                      Stephen N. Zack
                                      (See above for address)
                                      ATTORNEY TO BE NOTICED

                                      Ursula Ungaro
                                      (See above for address)
                                      ATTORNEY TO BE NOTICED




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Skyler               represented by David Boies
Lindeen                             (See above for address)
                                    LEAD ATTORNEY
                                    ATTORNEY TO BE NOTICED

                                  Jose Manuel Ferrer
                                  (See above for address)
                                  LEAD ATTORNEY
                                  ATTORNEY TO BE NOTICED

                                  Adam M Moskowitz
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Alexander Boies
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Barbara Cabrera Lewis
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  David Boies
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Howard M. Bushman
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Joseph M. Kaye
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Stephen N. Zack
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED

                                  Ursula Ungaro
                                  (See above for address)
                                  ATTORNEY TO BE NOTICED
Alexander            represented by David Boies
Chernyavsky                         (See above for address)
                                    LEAD ATTORNEY
                                    ATTORNEY TO BE NOTICED



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                                      Jose Manuel Ferrer
                                      (See above for address)
                                      LEAD ATTORNEY
                                      ATTORNEY TO BE NOTICED

                                      Adam M Moskowitz
                                      (See above for address)
                                      ATTORNEY TO BE NOTICED

                                      Alexander Boies
                                      (See above for address)
                                      ATTORNEY TO BE NOTICED

                                      Barbara Cabrera Lewis
                                      (See above for address)
                                      ATTORNEY TO BE NOTICED

                                      David Boies
                                      (See above for address)
                                      ATTORNEY TO BE NOTICED

                                      Howard M. Bushman
                                      (See above for address)
                                      ATTORNEY TO BE NOTICED

                                      Joseph M. Kaye
                                      (See above for address)
                                      ATTORNEY TO BE NOTICED

                                      Stephen N. Zack
                                      (See above for address)
                                      ATTORNEY TO BE NOTICED

                                      Ursula Ungaro
                                      (See above for address)
                                      ATTORNEY TO BE NOTICED
Gary                     represented by David Boies
Gallant                                 (See above for address)
                                        LEAD ATTORNEY
                                        ATTORNEY TO BE NOTICED

                                      Jose Manuel Ferrer
                                      (See above for address)
                                      LEAD ATTORNEY
                                      ATTORNEY TO BE NOTICED



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                                   Adam M Moskowitz
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   Alexander Boies
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   Barbara Cabrera Lewis
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   David Boies
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   Howard M. Bushman
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   Joseph M. Kaye
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   Stephen N. Zack
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   Ursula Ungaro
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED
David Nicol           represented by David Boies
                                     (See above for address)
                                     LEAD ATTORNEY
                                     ATTORNEY TO BE NOTICED

                                   Jose Manuel Ferrer
                                   (See above for address)
                                   LEAD ATTORNEY
                                   ATTORNEY TO BE NOTICED

                                   Adam M Moskowitz
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   Alexander Boies


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                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   Barbara Cabrera Lewis
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   David Boies
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   Howard M. Bushman
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   Joseph M. Kaye
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   Stephen N. Zack
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   Ursula Ungaro
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED
Sunil Kavuri          represented by David Boies
                                     (See above for address)
                                     LEAD ATTORNEY
                                     ATTORNEY TO BE NOTICED

                                   Jose Manuel Ferrer
                                   (See above for address)
                                   LEAD ATTORNEY
                                   ATTORNEY TO BE NOTICED

                                   Adam M Moskowitz
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   Barbara Cabrera Lewis
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   David Boies
                                   (See above for address)


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                                   ATTORNEY TO BE NOTICED

                                   Howard M. Bushman
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   Stephen N. Zack
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED
Edwin                represented by David Boies
Garrison                            (See above for address)
                                    LEAD ATTORNEY
                                    ATTORNEY TO BE NOTICED

                                   Jose Manuel Ferrer
                                   (See above for address)
                                   LEAD ATTORNEY
                                   ATTORNEY TO BE NOTICED

                                   Adam M Moskowitz
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   Barbara Cabrera Lewis
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   David Boies
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   Howard M. Bushman
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED

                                   Stephen N. Zack
                                   (See above for address)
                                   ATTORNEY TO BE NOTICED
Sam                  represented by Jeremy D. Mishkin
Bankman-                            (See above for address)
Fried                               LEAD ATTORNEY
                                    ATTORNEY TO BE NOTICED
Tom Brady            represented by Andrew B. Clubok
                                    Latham & Watkins LLP
                                    1271 Avenue of the Americas


                                    29
Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 30 of 93




                            New York, NY 10020
                            212-906-1200
                            Email: andrew.clubok@lw.com
                            LEAD ATTORNEY
                            ATTORNEY TO BE NOTICED

                            Brittany M.J. Record
                            Latham & Watkins LLP
                            555 Eleventh Street, N.W., Suite 1000
                            Washington, DC 20004
                            (202) 637-2200
                            Email: Brittany.Record@lw.com
                            LEAD ATTORNEY
                            ATTORNEY TO BE NOTICED

                            Elizabeth A. Greenman
                            Latham & Watkins LLP
                            10250 Constellation Blvd., Suite 1100
                            Los Angels, CA 90067
                            (424) 653-5500
                            Email: Elizabeth.Greenman@lw.com
                            LEAD ATTORNEY
                            ATTORNEY TO BE NOTICED

                            Jessica Stebbins Bina
                            Latham & Watkins LLP
                            10250 Constellation Blvd. Suite 1100
                            Los Angeles, CA 90067
                            (424) 653-5500
                            Email: Jessica.stebbinsbina@lw.com
                            LEAD ATTORNEY
                            ATTORNEY TO BE NOTICED

                            Marvin Putnam
                            Latham & Watkins LLP
                            10250 Constellation Blvd., Suite 1100
                            Los Angeles, CA 90067
                            (424) 653-5500
                            Email: Marvin.Putnam@lw.com
                            LEAD ATTORNEY
                            ATTORNEY TO BE NOTICED

                            Michele D. Johnson
                            LATHAM & WATKINS LLP
                            WinmatsConversion6
                            650 Town Center Drive


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      Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 31 of 93




                                  Suite 2000
                                  Costa Mesa, CA 92626
                                  714-540-1235
                                  Email: michele.johnson@lw.com
                                  LEAD ATTORNEY
                                  ATTORNEY TO BE NOTICED

                                  Susan E. Engel
                                  Latham & Watkins LLP
                                  555 Eleventh Street, N.W., Suite 1000
                                  Washington, DC 20004
                                  (202) 637-2200
                                  Email: Susan.Engel@lw.com
                                  LEAD ATTORNEY
                                  ATTORNEY TO BE NOTICED

                                  Roberto Martinez
                                  Colson Hicks Eidson
                                  255 Alhambra Circle
                                  Penthouse
                                  Coral Gables, FL 33134-2351
                                  305-476-7400
                                  Fax: 476-7444
                                  Email: bob@colson.com
                                  ATTORNEY TO BE NOTICED

                                  Stephanie Anne Casey
                                  Colson Hicks Eidson
                                  255 Alhambra Circle, PH
                                  Coral Gables, FL 33134
                                  (305) 476-7400
                                  Fax: (305) 476-7444
                                  Email: scasey@colson.com
                                  ATTORNEY TO BE NOTICED

                                  Zachary Andrew Lipshultz
                                  Colson Hicks Eidson
                                  255 Alhambra Circle
                                  Coral Gables, FL 33134
                                  3054767400
                                  Email: zach@colson.com
                                  ATTORNEY TO BE NOTICED
Gisele               represented by Andrew B. Clubok
Bundchen                            (See above for address)
                                    LEAD ATTORNEY
                                    ATTORNEY TO BE NOTICED


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                                 Brittany M.J. Record
                                 (See above for address)
                                 LEAD ATTORNEY
                                 ATTORNEY TO BE NOTICED

                                 Elizabeth A. Greenman
                                 (See above for address)
                                 LEAD ATTORNEY
                                 ATTORNEY TO BE NOTICED

                                 Jessica Stebbins Bina
                                 (See above for address)
                                 LEAD ATTORNEY
                                 ATTORNEY TO BE NOTICED

                                 Marvin Putnam
                                 (See above for address)
                                 LEAD ATTORNEY
                                 ATTORNEY TO BE NOTICED

                                 Michele D. Johnson
                                 (See above for address)
                                 LEAD ATTORNEY
                                 ATTORNEY TO BE NOTICED

                                 Susan E. Engel
                                 (See above for address)
                                 LEAD ATTORNEY
                                 ATTORNEY TO BE NOTICED

                                 Roberto Martinez
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Stephanie Anne Casey
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED

                                 Zachary Andrew Lipshultz
                                 (See above for address)
                                 ATTORNEY TO BE NOTICED
Kevin               represented by Andrew B Brettler
OLeary                             (See above for address)
                                   LEAD ATTORNEY
                                   ATTORNEY TO BE NOTICED


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                                     Brandon Scott Floch
                                     (See above for address)
                                     LEAD ATTORNEY
                                     ATTORNEY TO BE NOTICED

                                     Jeffrey Eldridge Marcus
                                     (See above for address)
                                     LEAD ATTORNEY
                                     ATTORNEY TO BE NOTICED

                                     Jeffrey A Neiman
                                     (See above for address)
                                     LEAD ATTORNEY
                                     ATTORNEY TO BE NOTICED

                                     Michael Anthony Pineiro
                                     (See above for address)
                                     LEAD ATTORNEY
                                     ATTORNEY TO BE NOTICED
David Ortiz             represented by Jason Samuel Oletsky
                                       (See above for address)
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED

                                     Katherine Ann Johnson
                                     (See above for address)
                                     LEAD ATTORNEY
                                     ATTORNEY TO BE NOTICED

                                     Christopher Stephen Carver
                                     (See above for address)
                                     ATTORNEY TO BE NOTICED
Caroline                represented by Stephanie Avakian
Ellison                                (See above for address)
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED
Gary Wang               represented by Alex B. Miller
                                       (See above for address)
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED
Nishad                  represented by Andrew Goldstein
Singh                                  (See above for address)
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED


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       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 34 of 93




Dan                   represented by Telemachus Kasulis
Friedberg                            Morvillo Abramowitz Grand Iason & Anello PC
                                     565 Fifth Ave
                                     New York, NY 10017
                                     212-880-9555
                                     Email: tkasulis@maglaw.com
                                     LEAD ATTORNEY
                                     ATTORNEY TO BE NOTICED
Stephen               represented by Nathan Marshall Bull
Curry                                (See above for address)
                                     ATTORNEY TO BE NOTICED
Golden State          represented by Matthew S Kahn
Warriors                             (See above for address)
LLC                                  LEAD ATTORNEY
                                     ATTORNEY TO BE NOTICED
William               represented by Tommy Lydon
Trevor                               (See above for address)
Lawrence                             LEAD ATTORNEY
                                     ATTORNEY TO BE NOTICED
Lawrence              represented by Andrew B. Clubok
Gene David                           (See above for address)
                                     LEAD ATTORNEY
                                     ATTORNEY TO BE NOTICED

                                    Brittany M.J. Record
                                    (See above for address)
                                    LEAD ATTORNEY
                                    ATTORNEY TO BE NOTICED

                                    Elizabeth A. Greenman
                                    (See above for address)
                                    LEAD ATTORNEY
                                    ATTORNEY TO BE NOTICED

                                    Jessica Stebbins Bina
                                    (See above for address)
                                    LEAD ATTORNEY
                                    ATTORNEY TO BE NOTICED

                                    Marvin Putnam
                                    (See above for address)
                                    LEAD ATTORNEY
                                    ATTORNEY TO BE NOTICED

                                    Michele D. Johnson


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                                    (See above for address)
                                    LEAD ATTORNEY
                                    ATTORNEY TO BE NOTICED

                                    Susan E. Engel
                                    (See above for address)
                                    LEAD ATTORNEY
                                    ATTORNEY TO BE NOTICED

                                    Roberto Martinez
                                    (See above for address)
                                    ATTORNEY TO BE NOTICED

                                    Stephanie Anne Casey
                                    (See above for address)
                                    ATTORNEY TO BE NOTICED

                                    Zachary Andrew Lipshultz
                                    (See above for address)
                                    ATTORNEY TO BE NOTICED
                      Papadakis v. Bankman-Fried et al.
Julie                  represented by Frederic S. Fox
Papadakis                             Kaplan Fox & Kilsheimer LLP
                                      800 Third Avenue
                                      38th Floor
                                      New York, NY 10022
                                      212-687-1980
                                      Email: ffox@kaplanfox.com
                                      ATTORNEY TO BE NOTICED

                                      Jeffrey Philip Campisi
                                      Kaplan Fox & Kilsheimer LLP
                                      800 Third Avenue
                                      38th Floor
                                      New York, NY 10022
                                      212-687-1980
                                      Email: jcampisi@kaplanfox.com
                                      ATTORNEY TO BE NOTICED

                                      Joel B. Strauss
                                      Kaplan Fox & Kilsheimer LLP
                                      800 Third Avenue
                                      38th Floor
                                      New York, NY 10022
                                      212-687-1980



                                     35
       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 36 of 93




                                     Email: jstrauss@kaplanfox.com
                                     ATTORNEY TO BE NOTICED

                                     Kathleen A. Herkenhoff
                                     Kaplan Fox & Kilsheimer LLP
                                     1999 Harrison Street
                                     Suite 1560
                                     Oakland, CA 94612
                                     415-772-4700
                                     Email: kherkenhoff@kaplanfox.com
                                     ATTORNEY TO BE NOTICED

                                     Laurence D. King
                                     Kaplan Fox & Kilsheimer LLP
                                     1999 Harrison Street
                                     Suite 1560
                                     Oakland, CA 94612
                                     415-772-4700
                                     Email: lking@kaplanfox.com
                                     ATTORNEY TO BE NOTICED
Samuel                  represented by Jeremy D. Mishkin
Bankman-                               (See above for address)
Fried                                  LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED

                                     Alexandra Theobald
                                     (See above for address)
                                     ATTORNEY TO BE NOTICED

                                     Marc Robert Lewis
                                     (See above for address)
                                     ATTORNEY TO BE NOTICED

                                     Richard M. Simins
                                     (See above for address)
                                     ATTORNEY TO BE NOTICED

                                     S. Gale Dick
                                     (See above for address)
                                     ATTORNEY TO BE NOTICED
Caroline                represented by Stephanie Avakian
Ellison                                (See above for address)
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED




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Zixiao Gary             represented by Alex B. Miller
Wang                                   Fried Frank
                                       One New York Plaza
                                       New York, NY 10004
                                       212-859-8000
                                       Email: alex.miller@friedfrank.com
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED
Nishad Singh            represented by Andrew Goldstein
                                       Cooley LLP
                                       1299 Pennsylvania Avenue, NW
                                       Suite 700
                                       Washington, DC 20004-2400
                                       202 842 7800
                                       Email: agoldstein@cooley.com
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED
Armanino                represented by Ann Marie Mortimer
LLP                                    HUNTON & WILLIAMS LLP
                                       550 South Hope Street
                                       Suite 2000
                                       Los Angeles, CA 90071
                                       (213) 532-2103
                                       Fax: (213) 532-2020
                                       Email: amortimer@HuntonAK.com
                                       ATTORNEY TO BE NOTICED

                                       Kirk Austin Hornbeck
                                       Hunton Andrews Kurth LLP
                                       Los Angeles Office
                                       550 S. Hope Street
                                       Suite 2000
                                       Los Angeles, CA 90071
                                       213-532-2000
                                       Fax: 213-532-2020
                                       Email: khornbeck@HuntonAK.com
                                       ATTORNEY TO BE NOTICED

                                       Matthew P. Bosher
                                       HUNTON ANDREWS KURTH LLP
                                       2200 Pennsylvania Ave, NW
                                       Washington, DC 20037
                                       202-955-1864
                                       Email: mbosher@huntonak.com
                                       ATTORNEY TO BE NOTICED



                                      37
       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 38 of 93




                                      Thomas Richard Waskom
                                      Hunton Andrews Kurth LLP
                                      951 East Byrd St.
                                      Richmond, VA 23219
                                      (804)788-8403
                                      Email: twaskom@HuntonAK.com
                                      ATTORNEY TO BE NOTICED
Prager Metis            represented by Irene Yang
CPAs, LLC                              SIDLEY AUSTIN LLP
                                       555 California Street
                                       Suite 2000
                                       San Francisco, CA 94104
                                       415-772-1200
                                       Email: irene.yang@sidley.com

                                      Bruce Roger Braun
                                      Sidley Austin LLP
                                      One S. Dearborn
                                      Chicago, Il 60603
                                      312-853-7000
                                      Fax: 312-853-7036
                                      Email: bbraun@sidley.com
                                      ATTORNEY TO BE NOTICED

                                      Joanna Rubin Travalini
                                      SIDLEY AUSTIN LLP
                                      One South Dearborn Street
                                      Chicago, IL 60603
                                      312-853-2077
                                      Email: jtravalini@sidley.com
                                      ATTORNEY TO BE NOTICED

                                      Sarah Alison Hemmendinger
                                      Sidley Austin LLP
                                      555 California Street, Suite 2000
                                      San Francisco, CA 94104
                                      415-772-7413
                                      Fax: 415-772-7400
                                      Email: shemmendinger@sidley.com
                                      ATTORNEY TO BE NOTICED

                                      Tommy Hoyt
                                      Sidley Austin LLP
                                      One S. Dearborn Street
                                      Chicago, IL 60603


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                                       312-853-0914
                                       Fax: 312-853-7036
                                       Email: thoyt@sidley.com
                                       ATTORNEY TO BE NOTICED
                         Jessup v. Bankman-Fried et al.
Michael Elliott                represented by Yaman Salahi
Jessup                                        Edelson PC
individually and                              150 California St.
on behalf of all                              Ste 18th Floor
others similarly                              San Francisco, CA 94111
situated                                      415-212-9300
                                              Fax: 415-373-9435
                                              Email: ysalahi@edelson.com
                                              ATTORNEY TO BE NOTICED

                                              Rafey S. Balabanian
                                              EDELSON PC
                                              150 California Street
                                              18th Floor
                                              San Francisco, CA 94111
                                              415-212-9300
                                              Fax: 415-373-9435
                                              Email: rbalabanian@edelson.com
                                              ATTORNEY TO BE NOTICED

                                              Todd M Logan
                                              EDELSON PC
                                              150 California Street
                                              18th Floor
                                              San Francisco, CA 94111
                                              415-212-9300
                                              Fax: 415-373-9435
                                              Email: tlogan@edelson.com
                                              ATTORNEY TO BE NOTICED
Samuel                         represented by Jeremy D. Mishkin
Bankman-Fried                                 (See above for address)
an individual                                 LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Marc Robert Lewis
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              Richard M. Simins



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                                              (See above for address)
                                              ATTORNEY TO BE NOTICED
Caroline Ellison                represented by Stephanie Avakian
an individual                                  (See above for address)
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED

Nishad Singh                    represented by Andrew Goldstein
an individual                                  (See above for address)
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED
Gary Wang                       represented by Alex B. Miller
an individual                                  (See above for address)
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED
                         Hawkins v. Bankman-Fried et al.
Russell Hawkins                 represented by Christopher Tourek
                                               Pomerantz LLP
                                               10 S. LaSalle Street
                                               Suite 3505
                                               Chicago, IL 60606
                                               312-377-1181
                                               Fax: 312-229-8811
                                               Email: ctourek@pomlaw.com
                                               ATTORNEY TO BE NOTICED

                                              Christopher Phillip Taylor Tourek
                                              Pomerantz LLP
                                              10 S LaSalle St
                                              Suite 3505
                                              Chicago, IL 60603
                                              United Sta
                                              312-377-1181
                                              Email: ctourek@pomlaw.com
                                              ATTORNEY TO BE NOTICED

                                              Eitan Kimelman
                                              Bronstein, Gewirtz & Grossman, LLC
                                              60 East 42nd Street, Suite 4600
                                              New York, NY 10165
                                              212-697-6484
                                              Email: eitank@bgandg.com
                                              ATTORNEY TO BE NOTICED

                                              J Alexander Hood , II


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                                            Pomerantz LLP
                                            600 Third Avenue, 20th Floor
                                            New York, NY 10016
                                            (212) 661-1100
                                            Fax: (212) 661-8665
                                            Email: ahood@pomlaw.com
                                            ATTORNEY TO BE NOTICED

                                            Jennifer Pafiti
                                            Pomerantz LLP
                                            1100 Glendon Avenue, 15th Floor
                                            Los Angeles, CA 90024
                                            (310) 405-7190
                                            Email: jpafiti@pomlaw.com
                                            ATTORNEY TO BE NOTICED

                                            Jeremy Alan Lieberman
                                            Pomerantz, LLP
                                            600 Third Avenue
                                            20th FLoor
                                            New York, NY 10016
                                            212-661-1100
                                            Fax: 212-661-8665
                                            Email: jalieberman@pomlaw.com
                                            ATTORNEY TO BE NOTICED

                                            Joshua B. Silverman
                                            Pomerantz LLP
                                            10 South LaSalle Street, Suite 3505
                                            Chicago, IL 60603
                                            312-377-1181
                                            Fax: 312-377-1184
                                            Email: jbsilverman@pomlaw.com
                                            ATTORNEY TO BE NOTICED

                                            Peretz Bronstein
                                            Bronstein, Gewirtz & Grossman, LLC
                                            (NY)
                                            60 East 42nd Street, Suite 4600
                                            New York, NY 10165
                                            212-697-6484
                                            Email: peretz@bgandg.com
                                            ATTORNEY TO BE NOTICED
Samuel Bankman-              represented by Jeremy D. Mishkin
Fried                                       (See above for address)
                                            LEAD ATTORNEY


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       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 42 of 93




                                            ATTORNEY TO BE NOTICED

                                            Marc Robert Lewis
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Richard M. Simins
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED
Caroline Ellison              represented by Stephanie Avakian
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED
Zixiao Gary Wang              represented by Alex B. Miller
                                             Fried Frank
                                             One New York Plaza
                                             New York, NY 10004
                                             212-859-8000
                                             Email: alex.miller@friedfrank.com
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED
Nishad Singh                  represented by Andrew Goldstein
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED
Armanino, LLP                 represented by Ann Marie Mortimer
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                            Kirk Austin Hornbeck
                                            (See above for address)
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED

                                            Thomas Richard Waskom
                                            (See above for address)
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED
Prager Metis                  represented by Bruce Roger Braun
CPAs, LLC                                    (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED




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                                              Joanna Rubin Travalini
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Sarah Alison Hemmendinger
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Tommy Hoyt
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Irene Yang
                                              (See above for address)
                         Pierce v. Bankman-Fried et al.
Stephen T Pierce               represented by Marshal Hoda
                                              The Hoda Law Firm, PLLC
                                              12333 Sowden Road, Suite B, PMB
                                              51811
                                              Houston, TX 77080
                                              832-848-0036
                                              Email: marshal@thehodalawfirm.com
                                              ATTORNEY TO BE NOTICED

                                              Patrick Yarborough
                                              Foster Yarborough PLLC
                                              917 Franklin Street, Suite 220
                                              Houston, TX 77002
                                              (713) 331-5254
                                              Fax: (713) 513-5202
                                              Email: patrick@fosteryarborough.com
                                              ATTORNEY TO BE NOTICED

                                              Steven C. Vondran
                                              The Law Offices of Steven C. Vondran,
                                              PC
                                              One Sansome Street, Suite 3500
                                              San Francisco, CA 94104
                                              (877) 276-5084
                                              Fax: (888) 551-2252
                                              Email: steve@vondranlegal.com
                                              ATTORNEY TO BE NOTICED



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       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 44 of 93




Samuel Bankman-               represented by Jeremy D. Mishkin
Fried                                        (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                           Marc Robert Lewis
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Richard M. Simins
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED
Caroline Ellison              represented by Stephanie Avakian
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED
Zixiao Wang                   represented by Alex B. Miller
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED
Nishad Singh                  represented by Andrew Goldstein
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED
Armanino, LLP                 represented by Ann Marie Mortimer
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                           Kirk Austin Hornbeck
                                           (See above for address)
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED

                                           Thomas Richard Waskom
                                           (See above for address)
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED
Prager Metis CPA's            represented by Bruce Roger Braun
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                           Joanna Rubin Travalini



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        Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 45 of 93




                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                             Sarah Alison Hemmendinger
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                             Tommy Hoyt
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                             Irene Yang
                                             (See above for address)
                            Lam v. Bankman-Fried
Elliott Lam                    represented by Kurt David Kessler
individually and on                           Audet & Partners LLP
behalf of all others                          711 Van Ness Avenue
similarly situated                            Suite 500
                                              San Francisco, CA 94102-3275
                                              4155682555
                                              Email: kkessler@audetlaw.com
                                              ATTORNEY TO BE NOTICED

                                             Laurence D. King
                                             Kaplan Fox & Kilsheimer LLP
                                             1999 Harrison Street
                                             Suite 1560
                                             Oakland, CA 94612
                                             415-772-4700
                                             Email: lking@kaplanfox.com
                                             ATTORNEY TO BE NOTICED

                                             Ling Y. Kuang
                                             Audet & Partners, LLP
                                             711 Van Ness Avenue
                                             Suite 500
                                             San Francisco, CA 94102
                                             415-568-2555
                                             Email: lkuang@audetlaw.com
                                             ATTORNEY TO BE NOTICED

                                             Robert L. Lieff



                                      45
       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 46 of 93




                                             PO Drawer A
                                             Rutherford, CA 94573
                                             415-250-4800
                                             Email: rlieff@lieff.com
                                             ATTORNEY TO BE NOTICED

                                             William M Audet
                                             Audet & Partners, LLC
                                             711 Van Ness Avenue
                                             Suite 500
                                             San Francisco, CA 94102
                                             415-568-2555
                                             Fax: 415-568-2556
                                             Email: waudet@audetlaw.com
                                             ATTORNEY TO BE NOTICED

                                             Yaman Salahi
                                             Edelson PC
                                             150 California St.
                                             Ste 18th Floor
                                             San Francisco, CA 94111
                                             415-212-9300
                                             Fax: 415-373-9435
                                             Email: ysalahi@edelson.com
                                             ATTORNEY TO BE NOTICED
Julie Papadakis               represented by Laurence D. King
                                             (See above for address)
                                             ATTORNEY TO BE NOTICED

                                             Todd M Logan
                                             (See above for address)
                                             ATTORNEY TO BE NOTICED

                                             Yaman Salahi
                                             (See above for address)
                                             ATTORNEY TO BE NOTICED
Russell Hawkins               represented by Laurence D. King
                                             (See above for address)
                                             ATTORNEY TO BE NOTICED

                                             Yaman Salahi
                                             (See above for address)
                                             ATTORNEY TO BE NOTICED
Sam Bankman-Fried             represented by Jeremy Mishkin
                                             (See above for address)


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                                           ATTORNEY TO BE NOTICED

                                           Marc Robert Lewis
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Richard M. Simins
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED
Caroline Ellison              represented by Stephanie Avakian
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED
Golden State                  represented by Matthew S Kahn
Warriors, LLC                                (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                           Jamila Denise MacEbong
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Michael Kahn
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED
Patrick Rabbitte              represented by Eric Ian Niehaus
                                             Robbins Geller Rudman and Dowd LLP
                                             655 West Broadway
                                             Suite 1900
                                             San Diego, CA 92101-3301
                                             619-231-1058
                                             Fax: 619-231-7423
                                             Email: ericn@rgrdlaw.com
                                             ATTORNEY TO BE NOTICED

                                           Shawn A. Williams
                                           ROBBINS GELLER RUDMAN &
                                           DOWD LLP
                                           One Montgomery Street
                                           Suite 1800
                                           San Francisco, CA 94104
                                           415-288-4545
                                           Fax: 415-288-4534
                                           Email: shawnw@rgrdlaw.com
                                           ATTORNEY TO BE NOTICED


                                     47
        Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 48 of 93




Michael Elliott                represented by Laurence D. King
Jessup                                        (See above for address)
                                              ATTORNEY TO BE NOTICED

                                             Todd M Logan
                                             (See above for address)
                                             ATTORNEY TO BE NOTICED

                                             Yaman Salahi
                                             (See above for address)
                                             ATTORNEY TO BE NOTICED
Stephen T Pierce               represented by Laurence D. King
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                             Marshal Hoda
                                             (See above for address)
                                             ATTORNEY TO BE NOTICED

                                             Yaman Salahi
                                             (See above for address)
                                             ATTORNEY TO BE NOTICED
Julie Chon                     represented by Laurence D. King
Papadakis                                     (See above for address)
                                              ATTORNEY TO BE NOTICED
Soham Bhatia                   represented by Daniel C. Girard
                                              Girard Sharp LLP
                                              601 California Street
                                              Suite 1400
                                              San Francisco, CA 94108
                                              415-981-4800
                                              Fax: 415-981-4846
                                              Email: dgirard@girardsharp.com
                                              ATTORNEY TO BE NOTICED
Matson Magleby                 represented by Daniel C. Girard
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED
Golam Sakline                  represented by Daniel C. Girard
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED
Nicole Keane                   represented by Daniel C. Girard
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED



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                               Gonzalez v. Silvergate Bank et al.
Joewy Gonzalez                         represented by Adam E. Polk
on behalf of all others similarly                     Girard Sharp LLP
situated                                              601 California St.
                                                      Ste. 1400
                                                      San Francisco, CA 94108
                                                      415-981-4800
                                                      Fax: 415-981-4846
                                                      Email: apolk@girardsharp.com
                                                      ATTORNEY TO BE NOTICED

                                                      Daniel C. Girard
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Jason S. Hartley
                                                      Hartley LLP
                                                      101 W. Broadway
                                                      Suite 820
                                                      San Diego, CA 92101
                                                      (619) 400-5822
                                                      Fax: 619-400-5832
                                                      Email: hartley@hartleyllp.com
                                                      ATTORNEY TO BE NOTICED

                                                      Jason M. Lindner
                                                      Hartley LLP
                                                      101 W. Broadway
                                                      Suite 820
                                                      San Diego, CA 92101
                                                      619-400-5822
                                                      Fax: 619-400-5832
                                                      Email: Lindner@hartleyllp.com
                                                      ATTORNEY TO BE NOTICED

                                                      Makenna Cox
                                                      Suite 1400
                                                      601 California Street
                                                      Suite 1400
                                                      San Francisco, CA 94108
                                                      415-981-4800
                                                      Email: mcox@girardsharp.com
                                                      ATTORNEY TO BE NOTICED
Silvergate Bank                        represented by John Landry
                                                      Sheppard Mullin Richter & Hampton



                                               49
       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 50 of 93




                                           LLP
                                           333 S. Hope Street
                                           Ste 43rd Floor
                                           Los Angeles, CA 90071
                                           213-620-1780
                                           Fax: 213-620-1398
                                           Email: jlandry@sheppardmullin.com
                                           ATTORNEY TO BE NOTICED

                                           Madalyn Macarr
                                           Sheppard, Mullin, Richter & Hampton
                                           LLP
                                           333 South Hope St.
                                           Los Angeles, CA 90017
                                           213-617-4235
                                           Email: mmacarr@sheppardmullin.com
                                           ATTORNEY TO BE NOTICED

                                           Polly Towill
                                           Sheppard Mullin
                                           333 So. Hope Street
                                           Ste 43rd Floor
                                           Los Angeles, CA 90071
                                           213-617-5480
                                           Email: ptowill@sheppardmullin.com
                                           ATTORNEY TO BE NOTICED
Silvergate Capital            represented by John Landry
Corporation                                  (See above for address)
                                             ATTORNEY TO BE NOTICED

                                           Madalyn Macarr
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Polly Towill
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED
Alan J. Lane                  represented by John Landry
                                             (See above for address)
                                             ATTORNEY TO BE NOTICED

                                           Madalyn Macarr
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED




                                    50
        Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 51 of 93




                                                       Polly Towill
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED
                    Sepulveda Zuleta et al. v. Silvergate Cap. Corp. et al.
Jose Tomas Sepulveda             represented by Caroline S. Emhardt
Zuleta                                          Fitzgerald Joseph LLP
on behalf of themselves                         2341 Jefferson Street
and all others similarly                        Suite 200
situated                                        San Diego, CA 92110
                                                619-215-1741
                                                Email: caroline@fitzgeraldjoseph.com
                                                ATTORNEY TO BE NOTICED

                                                   James M. Davis , IV
                                                   Casey Gerry LLP
                                                   110 Laurel Street
                                                   San Diego, CA 92101
                                                   619-238-1811
                                                   Fax: 619-544-9232
                                                   Email: jdavis@cglaw.com (Inactive)
                                                   ATTORNEY TO BE NOTICED

                                                   John Joseph Fitzgerald , IV
                                                   Law Office of Jack Fitzgerald, PC
                                                   3636 Fourth Ave.
                                                   Suite 202
                                                   San Diego, CA 92103
                                                   619-692-3840
                                                   Fax: 619-362-9555
                                                   Email:
                                                   JACK@FITZGERALDJOSEPH.COM
                                                   ATTORNEY TO BE NOTICED

                                                   Melanie Rae Persinger
                                                   Fitzgerald Joseph LLP
                                                   2341 Jefferson Street
                                                   Suite 200
                                                   San Diego, CA 92110
                                                   619-215-1741
                                                   Email: melanie@fitzgeraldjoseph.com
                                                   ATTORNEY TO BE NOTICED

                                                   Paul K. Joseph
                                                   Fitzgerald Joseph LLP
                                                   2341 Jefferson Street



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        Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 52 of 93




                                          Suite 200
                                          San Diego, CA 92110
                                          619-215-1741
                                          Email: paul@pauljosephlaw.com
                                          ATTORNEY TO BE NOTICED

                                          Thomas J. O'Reardon
                                          BLOOD HURST & O'REARDON LLP
                                          501 West Broadway
                                          Suite 1490
                                          San Diego, CA 92101
                                          (619) 338-1100
                                          Fax: (619) 338-1101
                                          Email: toreardon@bholaw.com
                                          ATTORNEY TO BE NOTICED

                                          Timothy Gordon Blood
                                          Blood Hurst & O'Rearden, LLC
                                          501 West Broadway
                                          Suite 1490
                                          San Diego, CA 92101
                                          (619)338-1100
                                          Fax: 619-338-1101
                                          Email: tblood@bholaw.com
                                          ATTORNEY TO BE NOTICED

                                          Trevor Matthew Flynn
                                          Fitzgerald Joseph, LLP
                                          2341 Jefferson Street
                                          Suite 200
                                          San Diego, CA 92110
                                          619-215-1741
                                          Email: trevor@fitzgeraldjoseph.com
                                          ATTORNEY TO BE NOTICED
Michael Lehrer             represented by Caroline S. Emhardt
on behalf of themselves                   (See above for address)
and all others similarly                  ATTORNEY TO BE NOTICED
situated
                                          James M. Davis , IV
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          John Joseph Fitzgerald , IV
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED



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        Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 53 of 93




                                          Melanie Rae Persinger
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Paul K. Joseph
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Thomas J. O'Reardon
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Timothy Gordon Blood
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Trevor Matthew Flynn
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED
Tristan Newman             represented by Caroline S. Emhardt
on behalf of themselves                   (See above for address)
and all others similarly                  ATTORNEY TO BE NOTICED
situated
                                          James M. Davis , IV
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          John Joseph Fitzgerald , IV
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Melanie Rae Persinger
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Paul K. Joseph
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Thomas J. O'Reardon
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Timothy Gordon Blood
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED


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       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 54 of 93




                                         Trevor Matthew Flynn
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED
Silvergate Capital        represented by John Landry
Corporation                              (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Madalyn Macarr
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Polly Towill
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED
Alan J. Lane              represented by John Landry
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Madalyn Macarr
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Polly Towill
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED
Christopher M. Lane       represented by John Landry
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Madalyn Macarr
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Polly Towill
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED
Tyler J. Pearson          represented by John Landry
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Madalyn Macarr
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED



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        Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 55 of 93




                                                  Polly Towill
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED
Jason Brenier                   represented by John Landry
                                               (See above for address)
                                               ATTORNEY TO BE NOTICED

                                                  Madalyn Macarr
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Polly Towill
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED
                           Husary et al. v. Silvergate Bank et al.
Andrawes Husary                      represented by Isabella Martinez
on behalf of themselves                             Reiser Law PC
and all others similarly                            1475 North Broadway
situated                                            Suite 300
                                                    Walnut Creek, CA 94596
                                                    925-256-0400
                                                    Email: isabella@reiserlaw.com
                                                    ATTORNEY TO BE NOTICED

                                                     Jason S. Hartley
                                                     Hartley LLP
                                                     101 W. Broadway
                                                     Suite 820
                                                     San Diego, CA 92101
                                                     (619) 400-5822
                                                     Fax: 619-400-5832
                                                     Email: hartley@hartleyllp.com
                                                     ATTORNEY TO BE NOTICED

                                                     Jason Kenneth Kellogg
                                                     Levine Kellogg Lehman Schneider and
                                                     Grossman LLP
                                                     100 SE 2nd St.
                                                     36th Floor
                                                     Miami Tower
                                                     Miami, FL 33131
                                                     305-403-8788
                                                     Email: jk@lklsg.com
                                                     ATTORNEY TO BE NOTICED



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                                            Jason M. Lindner
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Marcelo Diaz-Cortes
                                            Levine Kellogg Lehman Schneider &
                                            Grossman LLP
                                            Miami Tower
                                            100 SE 2nd Street, 36th Floor
                                            Miami, FL 33131
                                            305-403-8788
                                            Email: md@lklsg.com
                                            ATTORNEY TO BE NOTICED

                                            Matthew Whitacre Reiser
                                            Reiser Law PC
                                            1475 North Broadway
                                            Suite 300
                                            Walnut Creek, CA 94596
                                            925-256-0400
                                            Email: matthew@reiserlaw.com
                                            ATTORNEY TO BE NOTICED

                                            Michael J Reiser
                                            Law Office of Michael Reiser
                                            961 Ygnacio Valley Road
                                            Walnut Creek, CA 94596
                                            925-256-0400
                                            Fax: 925-476-0304
                                            Email: michael@reiserlaw.com
                                            ATTORNEY TO BE NOTICED

                                            Victoria J. Wilson
                                            Levine Kellogg Lehman Schneider
                                            Grossman
                                            Miami Tower
                                            100 SE 2nd Street, 36th Floor
                                            Miami, FL 33131
                                            305-403-8788
                                            Fax: 305-403-8789
                                            Email: vjw@lklsg.com
                                            ATTORNEY TO BE NOTICED
Francisco De Tomaso            represented by Isabella Martinez
on behalf of themselves                       (See above for address)
and all others similarly                      ATTORNEY TO BE NOTICED
situated


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                                            Jason S. Hartley
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Jason Kenneth Kellogg
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Jason M. Lindner
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Marcelo Diaz-Cortes
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Matthew Whitacre Reiser
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Michael J Reiser
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Victoria J. Wilson
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED
Soham Bhatia                   represented by Isabella Martinez
on behalf of themselves                       (See above for address)
and all others similarly                      ATTORNEY TO BE NOTICED
situated
                                            Jason S. Hartley
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Jason Kenneth Kellogg
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Jason M. Lindner
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Marcelo Diaz-Cortes
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED


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                                            Matthew Whitacre Reiser
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Michael J Reiser
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Victoria J. Wilson
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED
Michael Hawwa                  represented by Isabella Martinez
on behalf of themselves                       (See above for address)
and all others similarly                      ATTORNEY TO BE NOTICED
situated
                                            Jason S. Hartley
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Jason Kenneth Kellogg
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Jason M. Lindner
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Marcelo Diaz-Cortes
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Matthew Whitacre Reiser
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Michael J Reiser
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Victoria J. Wilson
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED
Silvergate Bank                             John Landry
                                            (See above for address)



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                                                     ATTORNEY TO BE NOTICED

                                                     Madalyn Macarr
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Polly Towill
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED
Silvergate Capital                                   John Landry
Corporation                                          (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Madalyn Macarr
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Polly Towill
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED
Alan J. Lane                                         John Landry
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Madalyn Macarr
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Polly Towill
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED
                       Rabbitte v. Sequoia Cap. Operations, LLC et al.
Patrick J. Rabbitte                  represented by Anny Marie Martin
Individually and on                                 Robbins Geller Rudman & Dowd LLP
Behalf of All Others                                Robbins Geller Rudman & Dowd LLP
Similarly Situated                                  225 NW Mizner Blvd.,
                                                    Suite 720
                                                    33432
                                                    Boca Raton, FL 33432
                                                    561-750-3000
                                                    Fax: 561-750-3364
                                                    Email: amartin@rgrdlaw.com
                                                    ATTORNEY TO BE NOTICED

                                                     Brian Edward Cochran


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                                   Robbins Geller Rudman & Dowd LLP
                                   655 West Broadway, Suite 1900
                                   San Diego, CA 92101-8498
                                   (619) 231-1058
                                   Fax: (619) 231-7423
                                   Email: BCochran@rgrdlaw.com
                                   ATTORNEY TO BE NOTICED

                                   Eric Ian Niehaus
                                   Robbins Geller Rudman and Dowd LLP
                                   655 West Broadway
                                   Suite 1900
                                   San Diego, CA 92101-3301
                                   619-231-1058
                                   Fax: 619-231-7423
                                   Email: ericn@rgrdlaw.com
                                   ATTORNEY TO BE NOTICED

                                   Hadiya Khan Deshmukh
                                   Robbins Geller Rudman & Dowd LLP
                                   Post Montgomery Center
                                   One Montgomery Street, Suite 1800
                                   San Francisco, CA 94104
                                   (415) 288-4545
                                   Fax: (415) 288-4534
                                   Email: hdeshmukh@rgrdlaw.com
                                   ATTORNEY TO BE NOTICED

                                   Kenneth P. Dolitsky
                                   Robbins Geller Rudman & Dowd LLP
                                   655 West Broadway, Suite 1900
                                   San Diego, CA 92101-8498
                                   (619) 231-1058
                                   Fax: (619) 231-7423
                                   Email: kdolitsky@rgrdlaw.com
                                   ATTORNEY TO BE NOTICED

                                   Shawn A. Williams
                                   ROBBINS GELLER RUDMAN &
                                   DOWD LLP
                                   One Montgomery Street
                                   Suite 1800
                                   San Francisco, CA 94104
                                   415-288-4545
                                   Fax: 415-288-4534
                                   Email: shawnw@rgrdlaw.com


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      Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 61 of 93




                                           ATTORNEY TO BE NOTICED

                                           Stuart A. Davidson
                                           Robbins Geller Rudman & Dowd LLP
                                           225 NE Mizner Boulevard
                                           Suite 720
                                           Boca Raton, FL 33432
                                           561-750-3000
                                           Fax: 561-750-3364
                                           Email: sdavidson@rgrdlaw.com
                                           ATTORNEY TO BE NOTICED
Thoma Bravo, LP              represented by Anna Terteryan
                                            Kirkland & Ellis LLP
                                            555 California Street
                                            Ste 2700
                                            San Francisco, CA 94104
                                            415-439-1864
                                            Fax: 415-439-1500
                                            Email: anna.terteryan@kirkland.com
                                            ATTORNEY TO BE NOTICED

                                           Mark Edward McKane
                                           Kirkland & Ellis LLP
                                           555 California Street
                                           San Francisco, CA 94104
                                           (415) 439-1473
                                           Fax: (415) 439-1500
                                           Email: mark.mckane@kirkland.com
                                           ATTORNEY TO BE NOTICED

                                           Stephen M. Silva
                                           Kirkland & Ellis LLP
                                           555 California Street
                                           Ste 2700
                                           San Francisco, CA 94104
                                           415-439-1359
                                           Email: stephen.m.silva@gmail.com
                                           ATTORNEY TO BE NOTICED
Paradigm Operations          represented by Alex Drylewski
LP                                          Skadden, Arps, Slate, Meagher & Flom
                                            LLP
                                            One Manhattan West
                                            New York, NY 10001-8602
                                            212-735-2129
                                            Email:



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      Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 62 of 93




                                                 alexander.drylewski@skadden.com
                                                 ATTORNEY TO BE NOTICED

                                                 Mark R.S. Foster
                                                 Skadden Arps Slate Meagher & Flom
                                                 LLP
                                                 CA
                                                 525 University Ave.
                                                 Ste 1400
                                                 Palo Alto, CA 94103
                                                 (650) 470-4580
                                                 Fax: (650) 470-4570
                                                 Email: mark.foster@skadden.com
                                                 ATTORNEY TO BE NOTICED
                  Girshovich v. Sequoia Cap. Operations, LLC et al.
Mark Girshovich                   represented by Candace Noelle Smith
                                                 Herman Jones LLP
                                                 3424 Peachtree RD NE
                                                 Suite 1650
                                                 Atlanta, GA 30326
                                                 404-504-6508
                                                 Email: csmith@hermanjones.com
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Connely Doize
                                                 Herman Jones LLP
                                                 3424 Peachtree RD NE
                                                 Suite 1650
                                                 Atlanta, GA 30326
                                                 404-504-6506
                                                 Email: cdoize@hermanjones.com
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Azra Mehdi
                                                 The Mehdi Firm, PC
                                                 95 Third Street
                                                 2nd Floor
                                                 Ste No. 9122
                                                 San Francisco, CA 94103
                                                 415-905-8880
                                                 Fax: 415-905-8880
                                                 Email: azram@themehdifirm.com
                                                 ATTORNEY TO BE NOTICED



                                         62
      Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 63 of 93




                                                John C. Herman
                                                HERMAN JONES LLP
                                                3424 Peachtree Road, NE
                                                Suite 1650
                                                Atlanta, GA 30326
                                                404-504-6500
                                                Fax: 404-504-6501
                                                Email: jherman@hermanjones.com
                                                ATTORNEY TO BE NOTICED
Paradigm Operations LP          represented by Alexander C. Drylewski
                                               (See above for address)
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED

                                                Mark R.S. Foster
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED
Thoma Bravo, LP                 represented by Anna Terteryan
                                               (See above for address)
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED

                                                Mark Edward McKane
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Stephen M. Silva
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED
                     Lucky D et al. v. Prager Metis LLP et al.
Lucky D                         represented by Edward Lehman
                                               LEHMAN, LEE & Xu LLC
                                               c/o LEHMAN, LEE & XU
                                               Suite 33 13, Tower One, Times Square
                                               l Matheson Street, Causeway Bay. Hong
                                               Kong
                                               852-3588-2188
                                               Email: elehman@lehmanlaw.com
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED



                                        63
       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 64 of 93




                                             Jacob Blacklock
                                             LEHMAN, LEE & Xu LLC
                                             c/o LEHMAN, LEE & XU
                                             Suite 33 13, Tower One, Times Square
                                             l Matheson Street, Causeway Bay. Hong
                                             Kong
                                             852-3588-2188
                                             Email: jblacklock@lehmanlaw.com
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                             ANTHONY SCORDO
                                             1425 POMPTON AVENUE
                                             CEDAR GROVE, NJ 07009
                                             973 837-1861
                                             Email: anthonyscordo@msn.com
                                             ATTORNEY TO BE NOTICED
Jong R.D.                     represented by Edward Lehman
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                             Jacob Blacklock
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                             ANTHONY SCORDO
                                             (See above for address)
                                             ATTORNEY TO BE NOTICED
How Yuan                      represented by Edward Lehman
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                             Jacob Blacklock
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                             ANTHONY SCORDO
                                             (See above for address)
                                             ATTORNEY TO BE NOTICED
S Roberts                     represented by Edward Lehman
                                             (See above for address)


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         Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 65 of 93




                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                             Jacob Blacklock
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                             ANTHONY SCORDO
                                             (See above for address)
                                             ATTORNEY TO BE NOTICED
B Ken                           represented by Edward Lehman
                                               (See above for address)
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED

                                             Jacob Blacklock
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                             ANTHONY SCORDO
                                             (See above for address)
                                             ATTORNEY TO BE NOTICED
J Bell                          represented by Edward Lehman
                                               (See above for address)
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED

                                             Jacob Blacklock
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                             ANTHONY SCORDO
                                             (See above for address)
                                             ATTORNEY TO BE NOTICED
Morebet, Ltd.                   represented by ANTHONY SCORDO
                                               (See above for address)
                                               ATTORNEY TO BE NOTICED
L Zhao                          represented by Edward Lehman
                                               (See above for address)
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED



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                                            Jacob Blacklock
                                            (See above for address)
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED

                                            ANTHONY SCORDO
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED
Khoo Wing                      represented by Edward Lehman
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                            Jacob Blacklock
                                            (See above for address)
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED

                                            ANTHONY SCORDO
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED
P Devin                        represented by Edward Lehman
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                            Jacob Blacklock
                                            (See above for address)
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED

                                            ANTHONY SCORDO
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED
Sunli                          represented by Edward Lehman
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                            Jacob Blacklock
                                            (See above for address)
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED

                                            ANTHONY SCORDO


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       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 67 of 93




                                           (See above for address)
                                           ATTORNEY TO BE NOTICED
Loods B.V.                    represented by Edward Lehman
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                           Jacob Blacklock
                                           (See above for address)
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED

                                           ANTHONY SCORDO
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED
S James                       represented by Edward Lehman
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                           Jacob Blacklock
                                           (See above for address)
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED

                                           ANTHONY SCORDO
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED
Yang How                      represented by Edward Lehman
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                           Jacob Blacklock
                                           (See above for address)
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED

                                           ANTHONY SCORDO
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED
K David                       represented by Edward Lehman
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED


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         Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 68 of 93




                                             Jacob Blacklock
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                             ANTHONY SCORDO
                                             (See above for address)
                                             ATTORNEY TO BE NOTICED
Edward Johns                    represented by Edward Lehman
                                               (See above for address)
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED

                                             Jacob Blacklock
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                             ANTHONY SCORDO
                                             (See above for address)
                                             ATTORNEY TO BE NOTICED
Nickle Lee                      represented by Edward Lehman
                                               (See above for address)
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED

                                             Jacob Blacklock
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                             ANTHONY SCORDO
                                             (See above for address)
                                             ATTORNEY TO BE NOTICED
S Jong                          represented by Edward Lehman
                                               (See above for address)
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED

                                             Jacob Blacklock
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED



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                                           ANTHONY SCORDO
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED
Drake Hk                      represented by Edward Lehman
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                           Jacob Blacklock
                                           (See above for address)
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED

                                           ANTHONY SCORDO
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED
Justin Berk                   represented by Edward Lehman
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                           Jacob Blacklock
                                           (See above for address)
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED

                                           ANTHONY SCORDO
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED
Prager Metis LLP              represented by Joanna Rubin Travalini
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                           Amy Canning
                                           Lewis Brisbois Bisgaard & Smith LLP
                                           Newark
                                           One Riverfront Plaza
                                           Suite 800
                                           07102
                                           Newark, NJ 07102
                                           203-722-3105
                                           Email: amiecanning@gmail.com
                                           ATTORNEY TO BE NOTICED



                                    69
      Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 70 of 93




                                               Meredith Kaplan Stoma
                                               LEWIS BRISBOIS BISGAARD &
                                               SMITH, LLP
                                               ONE RIVERFRONT PLAZA
                                               SUITE 800
                                               NEWARK, NJ 07102
                                               (973) 577-6260
                                               Email:
                                               meredith.stoma@lewisbrisbois.com
                                               ATTORNEY TO BE NOTICED

                                               Peter Thomas Shapiro
                                               LEWIS, BRISBOIS, BISGAARD &
                                               SMITH, LLP
                                               77 WATER STREET
                                               SUITE 2100
                                               NEW YORK, NY 10005
                                               (212) 232-1322
                                               Fax: (212) 232-1399
                                               Email: peter.shapiro@lewisbrisbois.com
                                               ATTORNEY TO BE NOTICED
Armanino LLC                  represented by Matthew P. Bosher
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                               Justin Taylor Quinn
                                               ROBINSON MILLER LLC
                                               IRONSIDE NEWARK
                                               110 Edison Place, Suite 302
                                               NEWARK, NJ 07102
                                               973-690-5400
                                               Email: jquinn@rwmlegal.com
                                               ATTORNEY TO BE NOTICED

                                               Torsten Michael Kracht
                                               Hunton Andrews Kurth LLP
                                               2200 Pennsylvania Avenue, NW
                                               WASHINGTON, DC 20037
                                               202419-2149
                                               Email: tkracht@HuntonAK.com
                                               ATTORNEY TO BE NOTICED
                       Garrison et al. v. Paffrath et al.
Edwin Garrison                represented by David Boies
                                             (See above for address)


                                      70
      Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 71 of 93




                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED

                                          Adam M Moskowitz
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Jose Manuel Ferrer
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Joseph M. Kaye
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Manuel A. Arteaga-Gomez
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Michelle Genet Bernstein
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Stephen N. Zack
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Stuart Z Grossman
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Tyler Evan Ulrich
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED
Gregg Podalsky               represented by David Boies
                                            (See above for address)
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED

                                          Adam M Moskowitz
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Jose Manuel Ferrer
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED


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                                           Joseph M. Kaye
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Manuel A. Arteaga-Gomez
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Michelle Genet Bernstein
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Stephen N. Zack
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Stuart Z Grossman
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Tyler Evan Ulrich
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED
Skyler Lindeen                represented by David Boies
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                           Adam M Moskowitz
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Jose Manuel Ferrer
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Joseph M. Kaye
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Manuel A. Arteaga-Gomez
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Michelle Genet Bernstein


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                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Stephen N. Zack
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Stuart Z Grossman
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Tyler Evan Ulrich
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED
Alexander Chernyavsky        represented by David Boies
                                            (See above for address)
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED

                                          Adam M Moskowitz
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Jose Manuel Ferrer
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Joseph M. Kaye
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Manuel A. Arteaga-Gomez
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Michelle Genet Bernstein
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Stephen N. Zack
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED

                                          Stuart Z Grossman
                                          (See above for address)
                                          ATTORNEY TO BE NOTICED


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                                           Tyler Evan Ulrich
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED
Sunil Kavuri                  represented by David Boies
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                           Adam M Moskowitz
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Jose Manuel Ferrer
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Joseph M. Kaye
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Manuel A. Arteaga-Gomez
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Michelle Genet Bernstein
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Stephen N. Zack
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Stuart Z Grossman
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Tyler Evan Ulrich
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED
Gary Gallant                  represented by David Boies
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED




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                                           Adam M Moskowitz
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Jose Manuel Ferrer
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Joseph M. Kaye
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Manuel A. Arteaga-Gomez
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Michelle Genet Bernstein
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Stephen N. Zack
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Stuart Z Grossman
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Tyler Evan Ulrich
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED
David Nicol                   represented by David Boies
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                           Adam M Moskowitz
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Jose Manuel Ferrer
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Joseph M. Kaye
                                           (See above for address)


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                                               ATTORNEY TO BE NOTICED

                                               Manuel A. Arteaga-Gomez
                                               (See above for address)
                                               ATTORNEY TO BE NOTICED

                                               Michelle Genet Bernstein
                                               (See above for address)
                                               ATTORNEY TO BE NOTICED

                                               Stephen N. Zack
                                               (See above for address)
                                               ATTORNEY TO BE NOTICED

                                               Stuart Z Grossman
                                               (See above for address)
                                               ATTORNEY TO BE NOTICED

                                               Tyler Evan Ulrich
                                               (See above for address)
                                               ATTORNEY TO BE NOTICED
Jaspreet Singh                  represented by Ronald G Acho
                                               Cummings, McClorey, Davis & Acho,
                                               PLC
                                               17436 College Parkway
                                               Livonia, MI 48152
                                               Email: racho@cmda-law.com
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED
                  O’Keefe v. Sequoia Cap. Operations, LLC et al.
Connor O'Keefe                represented by Kerry J. Miller
                                             Fishman Haygood, LLP
                                             201 St. Charles Avenue
                                             46th Floor
                                             New Orleans, LA 70170
                                             504-556-5549
                                             Fax: 504-949-8202
                                             Email: kmiller@fishmanhaygood.com
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                             Amy Michelle Bowers
                                             Stumphauzer Foslid Sloman Ross &
                                             Kolaya, PLLC
                                             2 South Biscayne Boulevard


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Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 77 of 93




                                  Suite 1600
                                  Miami, FL 33131
                                  305-614-1404
                                  Fax: 305-614-1425
                                  Email: abowers@sfslaw.com
                                  ATTORNEY TO BE NOTICED

                                  Benjamin D. Reichard
                                  Richard Haygood L.L.P.
                                  201 St. Charles Avenue, 46th Floor
                                  New Orleans, LA 70170
                                  (504) 586-5252
                                  Email: breichard@fishmanhaygood.com
                                  ATTORNEY TO BE NOTICED

                                  C. Hogan Paschal
                                  Fishman Haygood L.L.P.
                                  201 St. Charles Avenue, 46th Floor
                                  New Orleans, LA 70170
                                  (504) 586-5252
                                  Email: hpaschal@fishmanhaygood.com
                                  ATTORNEY TO BE NOTICED

                                  James R. Swanson
                                  Fishman Haygood L.L.P.
                                  201 St. Charles Avenue, 46th Floor
                                  New Orleans, LA 70170
                                  (504) 586-5252
                                  Email: jswanson@fishmanhaygood.com
                                  ATTORNEY TO BE NOTICED

                                  Jorge A. Perez Santiago
                                  Stumphauzer Kolaya Nadler & Sloman,
                                  PLLC
                                  Two South Biscayne Boulevard
                                  Ste 1600
                                  Miami, FL 33131
                                  305-614-1400
                                  Email: jperezsantiago@sknlaw.com
                                  ATTORNEY TO BE NOTICED

                                  Kerry James Miller
                                  Fishman Haygood LLP
                                  201 St. Charles Avenue, Suite 4600
                                  New Orleans, LA 70170
                                  504-586-5252


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       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 78 of 93




                                          Email: kmiller@fishmanhaygood.com
                                          ATTORNEY TO BE NOTICED

                                          Monica Bergeron
                                          FISHMAN HAYGOOD LLP
                                          201 St. Charles Avenue
                                          Suite 4600
                                          New Orleans, LA 70170-4600
                                          (504) 586-5252
                                          Email: mbergeron@fishmanhaygood.com
                                          ATTORNEY TO BE NOTICED

                                          Timothy Andrew Kolaya
                                          Stumphauzer Kolaya Nadler & Sloman,
                                          PLLC
                                          2 S. Biscayne Boulevard
                                          Suite 1600
                                          Miami, FL 33131
                                          305-614-1400
                                          Fax: 305-614-1425
                                          Email: tkolaya@sknlaw.com
                                          ATTORNEY TO BE NOTICED
Silvergate Bank             represented by Benjamin Joseph Tyler
                                           Holland and Knight LLP
                                           1031 Alhambra Circle
                                           Coral Gables, FL 33134
                                           786-252-7121
                                           Email: benjamin.tyler@hklaw.com
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED

                                          John Landry
                                          (See above for address)
                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED

                                          Madalyn Macarr
                                          (See above for address)
                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED

                                          Polly Towill
                                          (See above for address)
                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED



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       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 79 of 93




                                          Stephen Warren
                                          HOLLAND & KNIGHT LLP
                                          701 Brickell Avenue
                                          Suite 3300
                                          Miami, FL 33131
                                          (305) 374-8500
                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED
Deltec Bank and Trust       represented by Deltec Bank and Trust Company
Company Limited                            Limited
                                           Deltec House, Lyford Cay
                                           Nassau, Bahamas
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED
Farmington State Bank       represented by Frank Bonaventure
d/b/a Moonstone Bank                       BAKER, DONELSON, BEARMAN,
                                           CALDWELL, & BERKOWITZ, PC
                                           100 Light Street
                                           19th Floor
                                           Baltimore, MD 21202
                                           Email: fbonaventure@bakerdonelson.com
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED

                                          Ty Kelly
                                          BAKER, DONELSON, BEARMAN,
                                          CALDWELL, & BERKOWITZ, PC
                                          100 Light Street
                                          19th Floor
                                          Baltimore, MD 21202
                                          Email: tykelly@bakerdonelson.com
                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED
Thoma Bravo L.P.            represented by Anna Terteryan
                                           (See above for address)
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED

                                          Azra Mehdi
                                          (See above for address)
                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED

                                          Mark Edward McKane
                                          (See above for address)


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                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED

                                           Stephen M. Silva
                                           (See above for address)
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED
Paradigm Operations LP       represented by Alexander C. Drylewski
                                            (See above for address)
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED

                                           Mark R.S. Foster
                                           (See above for address)
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED
Ribbit Capital, L.P.         represented by Jacqueline Marie Arango
                                            Akerman, Senterfitt
                                            Three Brickell City Centre
                                            98 Southeast Seventh St.
                                            Suite 1100
                                            Miami, FL 33131
                                            305-374-5600
                                            Fax: 305-374-5095
                                            Email: jacqueline.arango@akerman.com
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED
Multicoin Capital            represented by Multicoin Capital Management LLC
Management LLC                              501 West Avenue
                                            Apt. 3803
                                            Austin, TX 78701
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED
Tiger Global Management,     represented by Jeffrey Robertson
LLC                                         SCHULTE ROTH & ZABEL LLP
                                            901 Fifteenth Street, NW
                                            Suite 800
                                            Washington, DC 20005
                                            Email: jeffrey.robertson@srz.com
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED

                                           Peter White
                                           SCHULTE ROTH & ZABEL LLP
                                           901 Fifteenth Street, NW


                                      80
       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 81 of 93




                                             Suite 800
                                             Washington, DC 20005
                                             Email: pete.white@srz.com
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED
Sino Global Capital Limited   represented by Sino Global Capital Limited
                                             C/O Matthew Graham
                                             Chaoyang, Beijing
                                             Beijing Shi 100125
                                             China
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED
Fenwick & West LLP            represented by David Richardson Atkinson , Jr.
                                             Gunster Yoakley & Stewart
                                             777 South Flagler Drive, Suite 500 East
                                             West Palm Beach, FL 33401
                                             561-650-0547
                                             Email: datkinson@gunster.com
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                             Nicole K. Atkinson
                                             Gunster, Yoakley & Stewart, PA
                                             Suite 500 E
                                             777 S Flagler Dr
                                             West Palm Beach, FL 33401-6194
                                             561/650-0561
                                             Fax: 561/655-5677
                                             Email: natkinson@gunster.com
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED

                                             Stephen Carli Richman
                                             Gunster
                                             777 S. Flagler Drive
                                             Suite 500 East
                                             West Palm Beach, FL 33401
                                             561-655-1980
                                             Email: srichman@gunster.com
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED
Prager Metis CPAs, LLC        represented by Irene Yang
                                             (See above for address)

                                             Joanna Rubin Travalini


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                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED
Armanino, LLP                     represented by Matthew P. Bosher
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                  Thomas Richard Waskom
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                          Magleby et al. v. Silvergate Bank et al.
Matson Magleby                      represented by Makenna Cox
on behalf of all others                            601 California Street
similarly situated                                 Suite 1400
                                                   San Francisco, CA 94108
                                                   415-981-4800
                                                   Email: mcox@girardsharp.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                     Adam E. Polk
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Daniel C. Girard
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Jason S. Hartley
                                                     Hartley LLP
                                                     101 W. Broadway
                                                     Suite 820
                                                     San Diego, CA 92101
                                                     (619) 400-5822
                                                     Fax: 619-400-5832
                                                     Email: hartley@hartleyllp.com
                                                     ATTORNEY TO BE NOTICED

                                                     Jason Michael Lindner
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Tom Lane Watts
                                                     Girard Sharp LLP


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                                            601 California Street. Suite 1400
                                            San Francisco, CA 94108
                                            United Sta
                                            (415) 981-4800
                                            Email: tomw@girardsharp.com
                                            ATTORNEY TO BE NOTICED
Golam Sakline                  represented by Makenna Cox
on behalf of all others                       (See above for address)
similarly situated                            LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                            Adam E. Polk
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Daniel C. Girard
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Jason S. Hartley
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Jason Michael Lindner
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Tom Lane Watts
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED
Silvergate Bank                represented by Polly Towill
California Corporation                        (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                            John Landry
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Leo D Caseria
                                            SHEPPARD, MULLIN, RICHTER &
                                            HAMPTON LLP
                                            333 South Hope Street, 43rd Floor
                                            Los Angeles, CA 90071-1422
                                            202-747-1900



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        Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 84 of 93




                                                     Fax: 202-747-1901
                                                     Email: lcaseria@sheppardmullin.com
                                                     ATTORNEY TO BE NOTICED
Silvergate Capital                   represented by Polly Towill
Corporation                                         (See above for address)
Maryland Corporation                                LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                     John Landry
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Leo D Caseria
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED
                               Bhatia v. Silvergate Bank et al.
Soham Bhatia                           represented by Jason Kenneth Kellogg
on behalf of himself and all                          Levine Kellogg Lehman Schneider
others similarly situated                             and Grossman LLP
                                                      100 SE 2nd St.
                                                      36th Floor
                                                      Miami Tower
                                                      Miami, FL 33131
                                                      305-403-8788
                                                      Email: jk@lklsg.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                       Matthew W. Reiser
                                                       Reiserlaw
                                                       1475 N. Broadway, Suite 300
                                                       Walnut Creek, CA 94596
                                                       (925) 256-0400
                                                       Email: matthew@reiserlaw.com
                                                       ATTORNEY TO BE NOTICED

                                                       Michael Joseph Reiser
                                                       Reiser Law p.c.
                                                       1475 N. Broadway
                                                       Suite #300
                                                       Walnut Creek, CA 94596
                                                       (925)256-0400
                                                       Fax: 925-476-0304
                                                       Email: Michael@reiserlaw.com
                                                       ATTORNEY TO BE NOTICED


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        Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 85 of 93




Silvergate Bank                      represented by John Landry
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                     Leo D Caseria
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Polly Towill
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED
Silvergate Capital                   represented by John Landry
Corporation                                         (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                     Leo D Caseria
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Polly Towill
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED
Alan J Lane                          represented by John Landry
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                     Leo D Caseria
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Polly Towill
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED
Matson Magleby                       represented by Daniel C. Girard
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED
Golam Sakline                        represented by Daniel C. Girard
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED
                             Keane v. Silvergate Bank et al.
Nicole Keane                        represented by Caroline Emhardt
on behalf of herself, all                          Fitzgerald Joseph LLP
others similarly situated,                         2341 Jefferson Street, Suite 200
and the general public                             San Diego, CA 92110


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Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 86 of 93




                                    (619) 215-1741
                                    Email: caroline@fitzgeraldjoseph.com
                                    ATTORNEY TO BE NOTICED

                                    James M. Davis
                                    Blood Hurst & O'Reardon, LLP
                                    501 West Broadway, Suite 1490
                                    San Diego, CA 92101
                                    619-338-1100
                                    Fax: 619-338-1101
                                    Email: jdavis@bholaw.com
                                    ATTORNEY TO BE NOTICED

                                    John Joseph Fitzgerald , IV
                                    Law Office of Jack Fitzgerald, PC
                                    3636 Fourth Ave.
                                    Suite 202
                                    San Diego, CA 92103
                                    619-692-3840
                                    Fax: 619-362-9555
                                    Email:
                                    JACK@FITZGERALDJOSEPH.COM
                                    ATTORNEY TO BE NOTICED

                                    Melanie Rae Persinger
                                    Fitzgerald Joseph, LLP
                                    2341 Jefferson Street, Suite 200
                                    San Diego, CA 92110
                                    (619) 215-1741
                                    Email: melanie@fitzgeraldjoseph.com
                                    ATTORNEY TO BE NOTICED

                                    Paul K. Joseph
                                    Fitzgerald Joseph LLP
                                    2341 Jefferson Street, Suite 200
                                    San Diego, CA 92110
                                    (619) 215-1741
                                    Email: paul@fitzgeraldjoseph.com
                                    ATTORNEY TO BE NOTICED

                                    Thomas J. O'Reardon
                                    BLOOD HURST & O'REARDON
                                    LLP
                                    501 West Broadway
                                    Suite 1490
                                    San Diego, CA 92101


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       Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 87 of 93




                                                   (619) 338-1100
                                                   Fax: (619) 338-1101
                                                   Email: toreardon@bholaw.com
                                                   ATTORNEY TO BE NOTICED

                                                   Timothy Gordon Blood
                                                   Blood Hurst & O'Rearden, LLC
                                                   501 West Broadway
                                                   Suite 1490
                                                   San Diego, CA 92101
                                                   (619)338-1100
                                                   Fax: 619-338-1101
                                                   Email: tblood@bholaw.com
                                                   ATTORNEY TO BE NOTICED

                                                   Trevor Matthew Flynn
                                                   Fitzgerald Joseph, LLP
                                                   2341 Jefferson Street, Suite 200
                                                   San Diego, CA 92110
                                                   (619) 215-1741
                                                   Email: trevor@fitzgeraldjoseph.com
                                                   ATTORNEY TO BE NOTICED
Silvergate Bank                    represented by John Landry
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                   Polly Towill
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED
Silvergate Capital                 represented by John Landry
Corporation                                       (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                   Polly Towill
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED
Matson Magleby                     represented by Daniel C. Girard
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED
Golam Sakline                      represented by Daniel C. Girard
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED
                     Statistica Cap. Ltd. et al. v. Signature Bank




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Statistica Capital Ltd.             represented by Jack Fitzgerald
on behalf of themselves and all                    FITZGERALD JOSEPH LLP
others similarly situated and the                  2341 Jefferson Street
general public                                     Suite 200
                                                   San Diego, CA 92110
                                                   Email: jack@fitzgeraldjoseph.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                  Caroline Emhardt
                                                  2341 Jefferson St
                                                  Ste 200
                                                  San Diego, CA 92110
                                                  619-215-1741
                                                  Email: caroline@fitzgeraldjoseph.com
                                                  ATTORNEY TO BE NOTICED

                                                  James Davis
                                                  Blood Hurst & O'Reardon
                                                  501 W Broadway
                                                  Ste 1490
                                                  San Diego, CA 92101
                                                  619-338-1100
                                                  Email: jdavis@bholaw.com
                                                  ATTORNEY TO BE NOTICED

                                                  John Joseph Fitzgerald , IV
                                                  Law Office of Jack Fitzgerald, PC
                                                  3636 Fourth Ave.
                                                  Suite 202
                                                  San Diego, CA 92103
                                                  619-692-3840
                                                  Fax: 619-362-9555
                                                  Email:
                                                  JACK@FITZGERALDJOSEPH.COM
                                                  ATTORNEY TO BE NOTICED

                                                  Melanie Rae Persinger
                                                  Fitzgerald Joseph LLP
                                                  2341 Jefferson St.
                                                  Suite 200
                                                  San Diego, CA 92110
                                                  619-215-1741
                                                  Email: melanie@fitzgeraldjoseph.com
                                                  ATTORNEY TO BE NOTICED




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        Case MDL No. 3076 Document 106-2 Filed 05/01/23 Page 89 of 93




                                                Paul K Joseph
                                                Fitzgerald Joseph LLP
                                                2341 Jefferson Street
                                                Ste 200
                                                92110
                                                San Diego, CA 92110
                                                619-215-1741
                                                Email: paul@fitzgeraldjoseph.com
                                                ATTORNEY TO BE NOTICED

                                                Thomas J. O'Reardon , II
                                                Blood Hurst & O'reardon, LLP
                                                600 B Street, Suite 1550
                                                San Diego, CA 92101
                                                (619)-338-1100
                                                Fax: (619)-338-1101
                                                Email: toreardon@bholaw.com
                                                ATTORNEY TO BE NOTICED

                                                Timothy Gordon Blood
                                                Blood Hurst & O'Rearden, LLC
                                                501 West Broadway
                                                Suite 1490
                                                San Diego, CA 92101
                                                (619)338-1100
                                                Fax: 619-338-1101
                                                Email: tblood@bholaw.com
                                                ATTORNEY TO BE NOTICED

                                                Trevor Flynn
                                                Fitzgerald Joseph, LLP
                                                2341 Jefferson Street
                                                Ste 200
                                                San Diego, CA 92110
                                                619-215-1741
                                                Email: trevor@fitzgeraldjoseph.com
                                                ATTORNEY TO BE NOTICED
Statistica Ltd.                    represented by Jack Fitzgerald
on behalf of themselves and all                   (See above for address)
others similarly situatd and the                  LEAD ATTORNEY
general public                                    ATTORNEY TO BE NOTICED

                                                Caroline Emhardt
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED



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                                            James Davis
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            John Joseph Fitzgerald , IV
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Melanie Rae Persinger
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Paul K Joseph
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Thomas J. O'Reardon , II
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Timothy Gordon Blood
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Trevor Flynn
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED
Signature Bank                 represented by Elizabeth Sacksteder
                                              PAUL WEISS RIFKIND WHARTON
                                              & GARRISON LLP
                                              1285 Avenue of the Americas
                                              New York, NY 10019-6064
                                              212-373-3000
                                              Email: esacksteder@paulweiss.com
                                              ATTORNEY TO BE NOTICED

                                            H. Christopher Boehning
                                            PAUL WEISS RIFKIND WHARTON
                                            & GARRISON LLP
                                            1285 Avenue of the Americas
                                            New York, NY 10019-6064
                                            212-373-3000
                                            Email: cboehning@paulweiss.com
                                            ATTORNEY TO BE NOTICED

                                            Jessica Sombat Carey


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                                                PAUL WEISS RIFKIND WHARTON
                                                & GARRISON LLP
                                                1285 Avenue of the Americas
                                                New York, NY 10019-6064
                                                212-373-3000
                                                Fax: 212-757-3990
                                                Email: JCarey@paulweiss.com
                                                ATTORNEY TO BE NOTICED
                                By U.S. Mail
Shaquille O’Neal         represented by        Shaquille O’Neal
                                               4012 Sahara Ct
                                               Carrollton, TX 75010
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED
Naomi Osaka              represented by        Naomi Osaka
                                               9621 Arby Dr.
                                               Beverly Hills, CA 90210
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED
Sam Trabucco             represented by        Sam Trabucco
                                               36 Winner Circle
                                               Wells, ME 04090-5174
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED
Kevin Paffrath           represented by        Kevin Paffrath
                                               8219 Quartz Street
                                               Ventura, CA 93004
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED
Graham Stephan           represented by        Stephan Graham
                                               5193 Steel Hammer Drive
                                               Las Vegas, NV 89135
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED
Andrei Jikh              represented by        Andrei Jikh
                                               5667 Deer Creek Falls Court
                                               Las Vegas, NV 89118
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED
Brian Jung               represented by        Brian Jung
                                               12394 Potomac Hunt Rd.
                                               Gaithersburg, MD 20878




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                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED
Jeremy Lefebvre              represented by   Jeremy Lefebvre
                                              5201 PEAK CLIMB DR
                                              LAS VEGAS, NV 89135-9101
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED
Ben Armstrong                represented by   Ben Armstrong
                                              4944 Oglethorpe Loop NW
                                              Acworth, GA 30101
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED
Erika Kullberg               represented by   Erika Kullberg
                                              40 Wateside Plz
                                              Apt 11D
                                              New York, NY 10010
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED
Creators Agency, LLC         represented by   Creators Agency, LLC
                                              Register Agent: Register Agent Inc.
                                              30 N Gould St., Ste R
                                              Sheridan, WY 82801
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED
Deltec Bank and Trust        represented by   Deltec Bank and Trust Company
Company Limited                               Limited
                                              Deltec House, Lyford Cay
                                              Nassau, Bahamas
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED
Jean Chalopin                represented by   Jean Chalopin
                                              Deltec House, Lyford Cay
                                              Nassau, Bahamas
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED
Temasek Holdings (Private)   represented by   Temasek Holdings (Private) Limited
Limited                                       c/o Registered Agent Corporation
                                              Service Company
                                              251 Little Falls Drive
                                              Wilmington, DE 19808
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED




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Softbank Vision Fund (AIV     represented by         Softbank Vision Fund (AIV M2) L.P.
M2) L.P.                                             c/o Registered Agent Corporation
                                                     Service Company
                                                     251 Little Falls Drive
                                                     Wilmington, DE 19808
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED
Altimeter Capital             represented by         Altimeter Capital Management, LP
Management, LP                                       Through Its Registered Agent, The
                                                     Corporation Trust Company
                                                     1209 Orange Street
                                                     Wilmington, DE 19801
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED
Sino Global Capital Limited   represented by         Sino Global Capital Limited
                                                     C/O Matthew Graham
                                                     Chaoyang, Beijing
                                                     Beijing Shi 100125
                                                     China
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED
Softbank Group Corp.          represented by         Softbank Group Corp.
                                                     1 Circle Star Way
                                                     4F
                                                     San Carlos, CA 94070
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

Dated: May 1, 2023                             Respectfully submitted,

                                               CLEARY GOTTLIEB STEEN &
                                               HAMILTON LLP

                                               /s/ Jennifer Kennedy Park________

                                               Jennifer Kennedy Park
                                               jkpark@cgsh.com
                                               1841 Page Mill Road
                                               Palo Alto, CA 94304
                                               Telephone: (650) 815-4130
                                               Facsimile: (650) 815-4199

                                               Counsel for Defendant
                                               Sequoia Capital Operations, LLC


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